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Attomeys for Plaintiffs Circ!e Four LLC and Central Plains Farms, LLC

IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

CEN'I`RAL DIVISION
CIRCLE FOUR LLC and CENTRAL
PLAlNS FARMS, LLC,
Plaintifj@,

V.

MORDECHAI ORIAN afkfa MOTTY
ORIAN; GLOBAL HORIZONS, INC. dfb/a
AGRILABOR; PONGSATORN
SANARUK; PHONGSAK KUNUNTHA;
PHANUPHONG WONGWORN;
PHANOM MONGKHONSAWAT;
PRAWET PHANNARIT; SOMPHONG
SRIYAP; SOMSAK WONGKAEO;
WICHAI CHAROEN; MECHAI
SAWONG; PRAYA}) BUNPROM; SAYAN
CHUAYTUA; EKACHAI
PARIWANTANG; YOTRAK PHOTHIP;
THANIT SRIBORAN; SOMSAK
PHROMKHAN; CHALOEMCHAI
PHOTHIWORN; NARONG

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COMPLAIN'I` IN IN'I`ERPLEADER
AND FOR I)AMAGES

Case: 2:07cv00320

Assigned To : Stewart, Ted

Assign. Dat,e : 5115/2007

Descli'iption: Circle Four et al v. Orian
et a

 

 

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SRINONCKHO'I`; SOMSAK
KHAEPHUTCHA; SUPPHASIT YASAKA,
MANJA KHUNTHA; NARONGCHAI
KHUMBUNGKLA; THAICHAN
KONGTUNGMON; PHANUWAT
JO.MTHIP; ARUN PHANPON', ARWUTH
LAINOK', CHAKKAPONG LAEBUA;
SUWIT MIKEAO; ANURAT
TRUATNOK; PRASIT SRl-ON;
WATTHANA KAJIK; PRAPHAN
MATAD; UTHAN KHLONGDEE;
PHIR()M KRINSOONGNOEN; AMNUAY
PHAKONCI-IIM; PHIRAWAT
NUANBUNMA; PHEERAPHONG
SAISONG; DECHAWAT VONGTAR;
CHAIYAKON PRACHOT; TH()N-GPHAI
NUANNGAM; BUNTHAI SAREEWONG;
CHUANGCH()T MUAD-OTTON;
MONGHONSAK TI-IANAKHUN; SAMRIT
KORBPIMAI; CHAIRAT SRINAKRUNG;
RADCHAWEE SUWANSING; PANID
THARUPPACHIT; SAHARAT
PRASERTSANG; WAIYAKORN
CHIANWAPI; PRATEEP
APICHATESKOL; CHANGCHUM
THANONGSAK; AMPAI
APICHATESKOL; THAWEEWAN
TECHO; THIAN PO'I`A; SEKSAN
SOMMANAT; PHAIBUN MANISAENG;
ANONT YINGTHAVORN; SAIAM
RODPHAN; THANAPAT PIEDAENG;
A`NU KHONSINIT; AMORNTHEP
THAPJANG; PRAYOON
HONGSAMANUT; THANOKORN
PHIADOENG; ANTHOM SUPHOM;
PRAYUT CHAIPAYANT; SOMCHAI
lAMSA-ARD; and PHICHET
PHANTHASRI,

¢O‘SFO'>OO¢DO?COOCOOOOOUO'JCO?DOOWJ&OQOO’>WQW=LMWGCO§COOOOOCO?COQ$OOCMW>OUBWEEODWOCOVOOOCOEWJW¢M@&O?M¢OT

Defendants.

 

 

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Cirele Four LLC d/b/a Circle Four Fanns (“Circle Four”) and Central Plains Farms, LLC
(“Central Plains”) (collectively, “Plaintiffs”) file this original complaint in interpleader and for
damages against Mordec'hai Orian afk/a Motty Orian (“Orian”), Global Horizons, lnc. d/b/a
Agrilabor (“Global Horizons”).' Plaintiffs also join, as defendants in the interpleader action, the
following individual claimants: Pongsatom Sanaruk, Phongsak Kununtha, Phanuphong
Wongworn, Phanoni Mongkhonsawat, Prawet Phannarit, Somphong Sriyap, Somsak Wongkaeo,
Wiehai Charoen, Mechai Sawong, Prayad Bunprom, Sayan- Chuaytua, El<achai Pariwantang,
Yotrak Phothip, Thanit Sriboran, Somsak Phroml<han, Chaloemchai Phothiworn, Narong
Srinongl<hot, Somsak Khaephutcha, Supphasit Yasaka, Manja Khuntha, Narongchai
Khumbungkla, Thaichan Kongtungmon, Phanuw`at Jomthip, Arun Phanpon, Arwuth Lainok,
Chal<kapong Laebua, Suwit Mil<;eao-, Anurat Truatnok, Prasit Sri-On, Watthana Kajik, Praphan
Matad, Uthan Khlongdee, Phiroin Krinsoongnoen, Amnuay Phal<onohim, Phirawat Nuanbunrna,
Pheeraphong Saisong, Deehawat Vongtar, Chaiyal<on Prachot, Thongphai Nuanngarn, B'unthai
Sareewong, Chuangchot Muad-Otton, Monghonsak Thanakhun, Sarnrit Korbpimai, Chairat
Srinakrung, Radchawee Suwansing, Panid Thai'uppaehit, Saharat Prasertsang and Waiyakorn
Ch_ianwapi (collectively, the “Utah Claimaints”); and Prateep Apichateskol, Changchum
Thanongsak, Ampai Apichateskol, Thaweewan Techo, Thian Pota, Seksan Sommanat, Phaibun
Manisaeng, Anont Yingthavorn, Saiam Rodphan, Thanapat Piedaeng, Anu Khonsinit,
Amornthep Thapjang, Prayoon Hongsamanut, Thanokorn Phiadoeng, Anthom Suphom, Prayut
Chaipayant, Sornehai lamSa-Ard and Phichet Phanthasri (collectively, the “Colorado

Claimams").

 

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Nat.ure of the Action

l. Plaintiffs bring this action in the nature of interpleader pursuant to 28 U.S.C. §§ 1335,
1397 and 236l, to determine the rights of adverse claimants Who claim, or may claim, to be
entitled to certain monies that defendant Global Horizons alleges are due and owing from
Plaintiffs. Specifically, Plaintiffs seek for the Court to resolve the adverse claims of Orian and
Global Horizons on the one hand, and the `Ut-ah Claimants and Colorado Clairnants on the other,
and to determine the disposition of funds in the amount of $30,9'73.77 from Circle Four, and
$5,990.91 from Central Plains-funds Which both Plaintiffs stand ready and vvilling to pay.
Plaintiffs believe the Utah Claimants and Colorado Claimants are ultimately entitled to receive
some or' all of these funds as Wages for hours they have Worked for their employer, Global
Hon`zons.

2. Plaintiffs also assert claims for damages against defendants Orian and Global
Horizons, as set forth below.

J-urisdiction and Venue

3. The Court has original jurisdiction of this matter pursuant to 28 U.S.C. § 1335 because
the funds that are the subject of the interpleader action exceed $500.00, and because the
defendants include two or more adverse claimants of diverse citizenship Who are claiming or
may claim to be entitled to the funds. The Couit has diversity jurisdiction of the remaining

claims pursuant to 28 U.S.C. § 1332 because there is complete diversity and the amount in

controversy exceeds $75,000. The Court also has supplemental jurisdiction over the remaining

 

 

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claims pursuant to 28 U.S.C. § 1367 because they are related to and arise from the same
transactions or occurrences as the interpleader action.

4. This Court is a proper venue for this action pursuant to 28 U.S.C. § 1397 because one
or more of the claimants reside in this judicial district

Part_ies al_ld Service of Process

5. Circle Four is a Delaware limited liability company with its principal place of business
in Beaver County and lron County, Utah.

6. Central Plains is a Delaware limited liability company With its principal place of
business in Yurna County, Colorado.

7. Global Horizons is a California corporation doing business in the State of Utah. lt
may be served With process by serving its registered agent, National Registered Agents, Inc., 395
West 2900 North, Pleasant Grove, Utah 84()62.

8. Orian is a natural person who may be served with process at his place of business,
llll Santa Monica Boulevard, Suite 1440, Los Angeles, California 90025, or wherever he may
be found

9. On information and belief, the Utah Claimants are each natural persons residing in the
State of Utah, and they are each citizens of Thailand_ The Utah Claimants each may be served at
their place of residence in Beaver County.

lO. On_ information and belief, the Colorado Claimants are each natural persons residing

in the State of Colorado, and they are each citizens of Thailand. They may each be served with

process at their place of residence in Yuma, Colorado, or wherever they may be found.

 

 

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General Factual Allegatioris

ll. Circle Four owns and operates a hog production farm in the State of Utah_, and
.Central Plains owns and operates a hog production farm in the State of Colorado.

12. On information and belief, Global Horizons was founded by Orian and he owns or
controls all or a substantial majority of the company’s shares of stock. Orian is currently the
President and Chief Strategic Officer of Global Horizons and he controls the company’s day-toe
day operations For example, in Plaintiffs’ experience, Orian had final decisionmaking authority
on all Global Horizons matters, and Global Horizons employees were not permitted to make any
significant business decisions without Orian’s express prior approval.

l3. In September 2005., Circle Four entered into an agreement Witli Global Horizons for
Global l-Iorizons to provide qualified and competent agricultural workers and supervisors for
Circle Four’s farming operations in Beaver County and lron County, Utah (“Utah Farm”). In
October 2005, Central Plains entered into a similar agreement with Global Horizons, for Global
Horizons to provide qualified and competent agricultural workers and supervisors for its farming
operations in Yuma County, Colorado (“Colorado Farm”).

14. With respect to both arrangements, Global l-lorizons and the Plaintiffs understood
and agreed that the workers and supervisors would be employed, transported, housed, paid,
trained and supervised by Global Horizons, and that Global Horizons would recruit some or all
of the workers from foreign countries through the United States Department of Labor’s H-2A

visa program. Pursuant to the parties’ agreements, Global Horizons did provide agricultural

workers and supervisors for the Utah Fann and the Colorado Farm from time to time, beginning

 

 

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in November 2005. Global Horizons continued to provide such services to Plaintiffs until May
2007, when the events giving rise to this lawsuit occurred
l5. In order to win and keep Plaintiffs’ business, Orian made numerous representations
and promises to them, both prior to and after the execution of their written agreements
Specifically, Orian made multiple representations about the ability of Global Horizons to employ
Workers through the H-2A visa program, including but not limited to the following:
a. Orian represented that Global Horizons was in compliance, and would remain in
compliance, with all applicable federal, state and local laws and regulations necessary for
Global Horizons to employ H-2A workers in the States of Utah and Colorado',
b. Orian represented that Global Horizons held, and would continue to hold, a current
United States Department of Labor Farm Contractor License, as well as all other licenses
required -by any state or federal agency for the employment of farm labor and for the
transportation and housing of foreign agricultural workers;
c. Orian represented that the housing Global Horizons would provide to its employees
meets or exceeds all legal requirements, including the requirements of the H-ZA visa

program; and

d. Orian represented that all of Global Horizon’s employees were eligible to work in the
United States.

On multiple occasions between September 2005 and April 200'7, Orian repeated and affirmed
these and other representations and promises to Plaintiffs, and they were memorialized in written
agreements between Plaintiffs and Global Horizons.

16. Orian also made multiple representations and promises to Plaintiffs about the
compensation Global Horizons would pay to its employees, including but not limited to Orian’s

representations that Global Horizons would: (a) pay all wages, when due, to its employees; (b)

comply with all laws and regulations governing the payment of such wages; and (c) maintain

 

 

 

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records detailing basis and amount of compensation paid to its employees In written agreements
with Plaintiffs, Global Horizons affirmed Orian’s representations and promises, and explicitly
agreed to undertake and assume such obligations regarding payment of wages to its employees

l?. The Utah Claimants and Colorado Claimants are citizens of Thailand who were
brought to the United States and employed by Global llorizons through the H-ZA visa program.
Pursuant to the agreements between Plaintiffs and Global Horizons,' each of the Utah Claimants
and Colorado Claimants worked at the Utah Farm or Colorado Farm on one or more days in
January-April 2007.

18. ln or around February 2007, Plaintiffs heard rumors that Global Horizons had not
paid some of the wages to the Utah Claimants and Colorado Claimants that Global HoriZons was
obligated to pay them under state and federal law, and under the agreements with Plaintiffs
Plaintiffs’ representatives contacted Orian to inquire about these rumors, and Orian represented
that Global Horizons had timely paid all of its employees, and promised that Global Horizons
would continue to do so. Based on Orian’s representations, Plaintiffs decided to continue their
arrangements with Global Horizons for the Utah and Colorado Claimants to perform farm labor
services at the Utah and Colorado Farms.

l9. On or about April 18, 2007, nineteen Global Horizons employees did not show up
for work at the Utah Farm. -Upon information and belief, the Global Horizons employees did not
show up for work because Global Horizon_s had not paid them. Circle Four immediately notified

Global Horizons in writing that it was in breach of the parties’ agreement, and requested that

 

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Global Horizons provide certain information regarding the situation To date, Global Horizons
has not responded to this request

20. On or about May 4, 2007, Circle Four received a letter from Hanz K. Grunauer, a
Wage Hour lnvestigator at the United States Department of Labor (“DOL”), stating that he
would be visiting Circle Four’s offices on May 8, 2007 to investigate Circle Four’s compliance
with the Fair Labor Standards Act. A true and correct copy of l\/lr. Grunauer’s letter is attached
as Exhibit A.

2l. As a result of the Global Horizons employees’ failure to report to Work and l\/lr.
Grunauer’s letter, Plaintiffs began looking into Wliether Global Horizoris and Orian had complied
with their obligations under the agreements With Plaintiffs and under applicable state and federal
laws. Plaintiffs were shocked to learn that on July 27, 2006, the DOL had issued a determination
that debarred both Orian and Global Horizons for a period of three years_meaning that neither
Orian nor Global Horizons are allowed to obtain H-ZA temporary labor certifications during that
time. Plaintiffs also learned that the DOL’s determination became a final Decision and Order of
the Secretary of Labor on November 30, 2006, when an Administrative Law Judge, William
Dorsey, denied a request by Global Horizons and Orian for a hearing to appeal the July 27
determination regarding their debarment True and correct copies of ludge Dorsey’s November
30, 2006 Decision and Order, along with his December 26, 2006 Decision and Order denying a

request for an emergency stay of the November 30 order, are collectively attached as Exhibit B.1

 

l Orian and Global Horizons have been unsuccessful in their subsequent attempts to have the order stayed

 

 

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22. Plaintiffs also learned in May 2007, for the very first time, that Global Horizons does
not have current temporary labor certifications that would allow it to employ H-2A workers Utah
and Colorado. l\/Ioreover, on May ll, 2007, with no prior notice, the Director of lntemational
Relations for Global Horizons sent an e-mail to Plain.tiffs’ representative, which stated that
effective immediately, Global Horizons would no longer be able to provide its employees to
perform farm labor services at either the Utah Farm or the Colorado Farm.

23. Because of Global Horizons’ actions and failure to respond to Circle Four’s April
18, 2007 inquiry, Plaintiffs were forced to prohibit any Global Horizons employee from working
at the Utah and Colorado Fanns.

24. Although the most recent written agreements between Plaintiffs and Global Horizons '
expired in l\/lay 2006, the parties had orally agreed to continue their arrangements based on the
same terms and conditions while they engaged in negotiations concerning a new written
agreement Accordingly, between May 2006 and May 2007, Global Horizons continued to
employ agricultural workers and provide their services from time to time to Circle Four at the
Utah Farm and to Central Plains at the Colorado Farrn.

25. Prior to learning about the events described above, the Plaintiffs had timely paid all
invoices they received from Global Horizons. Each invoice covered one week’s worth of work
by the Global Horizons employees at the Utah Farm or the Colorado Farrn. The compensation
paid by Plaintiffs to Global l-`lorizons was calculated based on: (i) the amount of wages due and
owing to the Global Horizons employees for their work at the Utah Farm and the Colorado Farm

plus an additional sum per hour (ranging between $1.00-$2.00/hour) for each hour worked by the

10

 

 

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Global Horiz.ons employees (the “Base Fee”); plus (ii) an additional surcharge of up -to 40% of
the Base Fee.

26. To this day, neither Orian nor anyone else at Global Horizons has ever notified the
Plaintiffs that they had been debarred by the DOL in a determination that became final on
November 30, 2006, or that Global Horizons does not have the required state certifications to
employ H-2A workers in Utah and Colorado. lndeed, as recently as April 19 and May 3, 2007,
Orian personally represented to Plaintiffs that Global Horizons had the ability to continue to
provide its H-2A employees from Thailand to work on the farms ln fact, on its current
Agrilabor website, Global Horizons continues to represent to the public that it has the ability to
procure H-2A visas for foreign workers2

27. As a result of this situation, Plaintiffs also learned that Global Horizons has failed
and refused to pay the Utah Claimants, and the Colorado Claimants, for at least seven (7) weeks
worth of work they duly perfomied for Global Horizons.

28. On information and belief, Global Horizons has claimed to the Utah Claimants and
Colorado Claimants that the reason they have not been paid for these seven (7) weeks of work is
because Plaintiffs have not paid Global Horizons. However, Plaintiffs have already timely paid,
in full, all of the Global l-lorizons invoices they received for the past weeks of work by the

Global Horizons employees»except for the final invoice from Global Horizons for the final

 

2 For example, on its frequently-asked-questions or “FAQ" pages, Global Horizons claims it can “make it easy” for
businesses to “benefit from the use of ‘H2A”’ because: “By administering all the paperwork themselves, GLOBAL
goes through the certification process, finds, hires and brings into the USA the workers you need to do the job you
require.” A true and correct copy of the Global I-lorizons FAQ page, which was printed from the Global Horizons
website on May 15, 2007 (www.agrilabor.com), is attached as Exhibit C.

ll

 

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week of work by the Global Horizons employees at the Colorado Farm and Utah Fann, which
are the hinds the Plaintiffs seek to interplead in this lawsuit.
Request for interpleader relief
29. Plaintiffs repeat and reallege each of the allegations contained in the foregoing
paragraphs as fully set forth herein.
30. With respect to the interpleader action, Plaintiffs request the following relief:
a. That the Court grant leave_, pursuant to Rule 67 of the Federal Rules of Civil
Procedure and 28 U.S.C. § l335(a)(2), for Circle Four and Central Plains to
deposit the sums of $30,973.77 and $5,990.91, respectively, into the registry of
the Court, there to remain until further order or judginth of the Court;
b. That the Court, pursuant to 28 U.S.C. § 1335, enter an order of interpleader
and require the defendants to interplead and settle between themselves their rights .
or claims to the funds;
c. That the defendants, and each of them, be permanently enjoined from-
instituting or prosecuting against Plaintiffs any proceeding iri any state or United
States Court or administrative tribunal affecting the funds involved in the
interpleader action until further order or judgment of the Court, and that said

injunction issue without bond or surety;

d. That Plaintiffs have rio further liability to the defendants beyond their admitted
liability of $30,973.77 for Circle Four and $5,990.91 for Central Plains.

e. That the Court award Plaintiffs their costs, including reasonable attomeys’ fees
expended in bringing this action; and

f. That the Court award all other legal or equitable relief to which Plaintiffs are
justly entitled.

Causes of action against defendants Global Horizons, Inc. and Orian

Breach of contract-Global Horizons, Inc.

12

 

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3]. Plaintiffs repeat and reallege each of the allegations contained in the foregoing
paragraphs as fully set forth herein.

32, Plaintiffs have each performed their obligations under their respective agreements
with Global Horizons, Inc. The actions and omissions by Global Horizons constitute a breach of
both agreements, and its breaches have caused injury to the Plaintiffs _for which they seek an
award of damages In addition, as a result of the breaches by Global Horizons, it has been
necessary for Plaintiffs to retain legal counsel to prosecute this case, and Plaintiffs are entitled to
recover their reasonable legal fees and costs.

33. All conditions precedent to the recovery sought by Plaintiffs have been performed or
occurred l

Fraud and Ferent Inducement-»Global Horizons, Inc. and Orian

34. Plaintiffs repeat and reallege each of the allegations contained in the foregoing
paragraphs as fully set forth herein

35. Defendants Orian and Global Horizons each made false representations of existing
material facts to the Plaintiffs, and they each also failed and refused to disclose material facts to
the Plaintiffs, and the false representations and material omissions Were made knowingly or
recklessly

36. Defendants Orian and Global Horizons made such false representations and material
omissions to the Plaintiffs for the purpose of inducing Plaintiffs’ reliance thereon. Plaintiffs did
actually and justifiably rely on the false representations and material omissions to their

detriment, and Plaintiffs’ detrimental reliance has caused them to suffer injury.

13

 

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Negligent Misregresentation--Global Horizons, Inc. and Orian

37. Plaintiffs repeat and reallege each of the allegations contained in the foregoing
paragraphs as fully set forth herein

38. Defendants Orian and Global l-lorizons,, in the course of their business or in the
course of transactions in which they had a pecuniary interest, supplied false information for the
guidance of Plaintiffs Neither Orian nor Global Horizons exercised reasonable care in obtaining
or communicating the false information, and Plaintiffs each justifiably relied, to their detriment,
on the false information supplied by Orian nor Global I-Iorizons. Plaintiffs’ detrimental reliance

has caused them to suffer injury.

Reguest for Relief

39. Plaintiffs request that the Court enter a judgment for the following:
a. the interpleader relief described in paragraphs 28-29 above',
b. recovery of their actual damages from Defendants Orian and Global llorizons;
c. recovery of punitive damages against Defendants Orian and Global I-lorizons',
d. recovery of their reasonable attorneys’ fees and costs of court;

e. recovery of pre-judgment and post-judgment interest at the maximum lawful
rate; and

f. all further relief to which they are justly entitled

14

 

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DATED this \€<;y of l\/[ay, 2007.

Addresses of Plaintiffs:

Circle Four Fanns

P.O. Box 100 (Physical Address: 341 South Main)
Milford, UT 84751

l\/[urphy Brown of Yuma

806 W. 8tli Ave
Yuma, CO 80759

927646

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RAY QUINNEY & NEBEKER P.C.

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.lu ieI. Ung

Scott S. Rowekamp

HUNTON & WILLIAMS LLP

1601 Bryan Street, 30th Floor

Dallas, Texas 75201-3402

(pro hac vice applications forthcoming)

   

ATTORNEYS FOR PLAINTIFFS
CIRCLE FOUR LLC and
CENTRAL PLAINS FARMS, LLC

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Exhibit A

 

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U.S. Depart`ment of Labor Employment Stendards Admlnlstrallcn
Wage and Hour Dlvlslon
150 East Soclal l-lall Ave., Suite 695
Salt Lake City, UT 84111
(801) 524-5097, ext. 201

 

DATE: Aprll 30, 2007
To: circle Four same
PO"BOX -1 00

Milford, U`f 84751

SUBJECT: Vi_sl.'_t_ by Wage Hour Investigator
Da-te: 05108!07
Tlme: 1 :00 pm
Place: lEstabl_i'shment

The Wage and l-l`our Divislon of The United Stetes Departrnent of Labor is responsible for the '
administration and enforcement of a number of federal laws involving labor standards These
include the Falr Labor Standarc_ls Act, the Pub|le Contract Act, the Service Contract Act, the Famlly
Medical Leave Act and Tltle lll, Consumer Crecllt Protectlon Act The Dlvlsion also has certain
responsibilities under the Davls-Bacon Act_ and related statutes, the Contract Work Hours and
-Safety Standards Act. and the immigration R`eform and Control Act of 1986.

Thls letter is to advise you that l Wl|l call at your establishment on the date and time shown above
to determine compliance with the Fair Labor Standards Act. (`l' his will also include other laws as

listed above, if any of these apply. )

Every effort will be made to conduct this assignment expeditiously and with a minimum of
inconvenience to you and your employeesl The authority for this investigation can be found in
Sectlon 2 of the Falr Labor Standards Act, which rs available through our office

Usually, the following steps are taken during a compliance review:

1. An opening conference is held with the employer or a designated representative

2. A tour of the establishment ls made

3. Pertinent records are inspected to determine coverage, exemptionsl and the"status of
compliance .

4. A representative number of employees are interviewed

5` |f necessary for completion of the investigation, the employer may be requested to make
computations or transcriptions of records

6. A closing conference is held with a responsible official of the firm to review the results of
the investigation

 

 

 

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SUBJECT: Visit by Wage and l-lour investigator

The investigation Wil| cover a two year period and l will need access to the following information on
all employees both current and former, for the investigative period (05/10105 - O§/OBIO?):

Narne, address, and telephone number

Social Security number

.lob classification

Period of employment

Rate ot pay
l-lours worked each day and each workweek (i.e. timecards or similar documentation)

Straight~time and overtime eamings (i.e. payroll records or similar documentation)
Gross and net wages earned and paid

Deductions

eew@asews

Do'cumentation showing the date of birth {birth certificate or similar documentation), the
date of hire, and the occupation of any minor employee(s) (nineteen and under).

-.¢L
F-`J

. List of minor employees (under 18 years of age) employed for the two-year period

_\.
-¢-$.

. Annual gross dollar volume done by your firm; this is usually found on quarterly
state tax forms for the individual store. l also need the figures for the enterprisel
any other establishments owned by the same individuals '

._\
l'\)

14. Documentation showing birth dates of your employees other than the I-Q form.

15. Federa| Employer identification number.

16. Copies of current Federai Service Contracts with applicable wage determinations

NOTE: Please have a LlST ready which will include the first 5 items listed above. ltems 6
through 11 should be provided with the payroll records

|n order to expedite this matter, l will need ali of this information available at the time of the
appointment shown above if you have questions, please call me at (801) 524-5097, extension

201.

Sincere|y,

Hanz l<. Grtinauer
Wage Hour investigator

 

 

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z U.S. Department of Labor

Employment Standards Administration .
Wage and Hour Division

  

Fact Sheet #44: Visits to Employers

This Fect $heet provides general information about the laws enforced by the Wage end Hour Divislon.

purpose of Visit

The Wage and l-lour Divislon (WHD) is responsible for administering and enforcing a number of federal
laws which set basic labor standards, among them:

l The Falr Labor Standards Act

n The Famiiy and Meclicel Leave Act

n The Migrant and Seasonal Agricultural Worl<er Protection Act

l The field sanitation standards of the Occupatlona| Safety and Health Act

- The Employee Polygraph Protection Ac'c

l Certain employment standards and worker protections under the Immigration and Nationa|ity
Act

l Govern_rnenl: contracts prevailing wage statutes such as the Davis- Bacon and related Acts and

the McNarnara- -O'l-lara Service Coni:ract Act
l Garnishrnent provisions of the Consumer Credit Prot_ection Act

An investigator from WHD may conduct an investigation to determine whether these laws apply to an
employer. If the employer is subject to these laws, the investigator will verify that workers are paid
and employed prop erly according to the laws administered, and that youths under age 18 are
employed as provided by the child labor provisions The WHD does not require an investigator to
previously announce the scheduling of an investigation, although in many instances the investigator
will advise an employer prior to opening the investigation The investigator has sufficient latitude to
initiate unannounced investigations in many cases in order to directly observe normal business
operations and develop factual information quickiy.

An investigator may also visit an employer to provide information about the application of, and
compliance with, the labor laws administered by WHD.

Why; is an employer selected for an investigation?

The WHD conducts investigations for a number of reasons, all having to do with enforcement of the
laws and assuring an employer’s compliance WHD does not typically disclose the reason for an
investigation Many are initiated by complaints All complaints are confidential; the name of the
worker and the nature of the complaint are not disclose ble; whether a complaint exists may

not be disclosed.

In addition to complaints, WHD selects certain types of businesses or industries for investigation. The
WHD targets low-wage industries, for exam ple, because of high rates of violations or egregious
violatlons, the employment of vulnerable workers, or rapid changes in en industry Such as growth or
decilne. Occasional|y, a number of businesses ln a specific geographic area will be examined The
objective or targeted investigations is to improve compliance with the laws in those businesses,
industries, or localities. Regardless of the particular reason that prompted the investigationr all
investigations are conducted in accordance with established policies end procedures

Investigation Procedures

http://www.dol.gov/esa!rcgs/compliancc/whd!printpage.asp?R.`EF=whdt`s¢ld.htm 04/30/2007

 

 

 

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Investigations may be conducted under any one or more of the laws enforced by WHD. Most
employers are subject to the Fair l..abor Standards Act (FLSA}, which is the primary federal law of most
general application requiring payment of the minimum wage and overtime premium pay, keeping
certain basic payroll and employment records, and iirniting the working hours and types ofjobs for
certain underage youths. The procedures described below for FLSA investigations are generally
appiicebie to WHD investigations under other laws.

Section 11(a) of the Fi_Sn authorizes representatives of the Department of Labor to investigate and
gather data concerning wages, hours, and other employment practices; enter and inspect an
employer's premises and records_: and question employees to determine whether any person has
violated any provision of the FLSA.

The Wl-iD investigator will identify himself/herself and present official credentials The investigator will
explain the investigation process and the types of records required during the review.

An investigation consists of the following steps:

ll Exarnination of records to' determine which laws or exemptions apply. These records includey for
exampie, those showing the employers annual dollar volume of business transactions,.
involvement in interstate commerce, and work on government contracts Information from an
employer's records will not be revealed to unauthorized persons.

l Exa mination of payroll and time records, and taking notes or making transcriptions or
photocopies essential to the lnvestigatlon. 7

n Interviews with certain employees in private. The purpose of these interviews is to verify the `
employers payroll and time records, to identify workers‘ particular duties in sufficient detail to
decide which exemptions apply, if any, and to confirm that minors are legally empioyed.
Intervlews are normally conducted on the employer’s premises In some instances, present and
former employees may be interviewed at their homes or by mail or telephone.

l When ali the factfinding steps have been compieted, the investigator will ask to meet with the
employer and/or a representative of the firm who has authority to reach decisions and commit
the employer to corrective actions if violations have occurred. The employer will be told whether
violations have occurred and, if so, what they are and how to_correct them. If back wages are
owed to employees because of minimum wage or overtime violations, the investigator will
request payment of back wages and may ask the employer to compute the amounts due.

Empioyers may be represented by their accountants or attorneys at any point during this process.
When the investigator has advised the employer of his/her findings, the employer or representative
may present additional facts for consideration if violations were disciosed.

What enforcement procedures and remedies are provided under the laws
administered? `

While every effort is made to resolve the issue of compliance and payment of back wages at an
administrative ievel, the FLSA also provides for the following:

o An employee may file suit to recover back wages, and an equal amount in liquidated damages,
plus attorney's fees and court costs.

l The Secretary of Labor may file suit on behalf of employees for back wages and an equal
amount in liquidated damages

l The Secretary may obtain a court injunction to restrain any person from violating the law,
including unlawfully withholding proper minimum wage and overtime pay.

n Civil money penalties may be assessed for child labor violations and for repeat and/or willful
violations of Fi..SA‘s minimum wage or overtime requirements

- Employers who have willfully violated the law may face criminal penalties, including fines and

imprisonment
ll Employees who have filed complaints or provided information during an investigation are

htlp://www.dol.gov/esajrogs/compliance/th/printpagc.asp?REF=thfs44;ht1n 04/30/2007

 

 

 

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protected under the law. They may not be discriminated against or discharged for having done
so, If they are, they may file a suit or the Secretary of tabor may file a suit on their behalf for
relief, including reinstatement to their jobs and payment of wages lost plus monetary damages.

Many of the above provisions are found in other laws administered by WHD. For exampie, the Mlgrant
and Seasona| Agricuitural Worker Protection Act also provides for the assessment of civil money
penalties, criminal sanctions, fines and imprisonment

In the case of the government contracts statutes, contract funds may be withheld for violations under
the Walsh~Hea|ey Public Contracts Act, McNamara-O’Hara Service Contract Act, Davis- Bacon and
Reiated Acts, and Contract Wori< Hours and Safety Standards Act. Admlnistrative hearings or, in some
cases, court action may be initiated to recover back pay under these |aws. In addition, liquidated
damages may be assessed for certain violations Violators of these laws may also lose their Federal
contracts and be declared ineligible for future contracts for a specified period,

Additional Information

Adclitionai information, including pamphlets and fact sheets ontne various provisions administered by
WHD, are available both electronically on the Internet and upon request from local WHD offices Please
visit WHD's Internet Web Site l-lome Page (at W_inr_\/g.wagehoug,,dgL_ggv). An interactive advisor system '
designed to help employers and employees understand and comply with numerous employment laws
enforced by DOL is available through e!aws (Emp|oyrnent Laws Assistance for Workers and Srnall
Bus|nesses), accessed at gww.dol£g_v£elaws. DOL's Srnal| Buslness Regulatory Compliance Assistarice

_ Page ls also available by accessing the DOL Home Page at mwwm._d_c_)_i;g_oy. To find a listing of local WHD
district office addresses and phone numbers, click on the "Contact Your Locai Office" hot button from
the WHD i-lome Page (_l;v__vymvg._w_a_gehour.doi.gov), or call our toll-free information and heipiine at 1-866~
4USWAGE (1-866~487-9243). Under the Smali Business Regulatory Enforcement Falrness Act of 1996 '

' (SBREFA), small entities may comment on WHD enforcement by calling I»BBB-REG-FAIR (1-888-734-
3247}, or writing to the Office of the National Ombudsman, U.S. Srnall Buslness Administration, 409
3rd Street, SW, MC2120, Washington, DC 20416-0005. The Ornbu dsman's webs|te is

hitp:[gwww.sba.ggv,!ombudsmag[. WHD does not consider the filing of a comment with the

Ornbudsman as a factor in determining how to resolve issues raised during a compliance action.

 

This fact sheet is intended as general information only and does not carry the force of legal
opinion.

The Department of Labor is providing this information as a public service. This information and related
materials are presented to give the public access to information on Departme nt of La bor programs.
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a delay between official publications of the materials and the modification of these pages Therefore,
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remain the official source for reguiatory information published by the Department of Labo r\ We will
make every effort to correct errors brought to our attention.

U.S. Department of Labdr 1-866-4-USWAGE, `l'l"f: 1-877-889-5627
Frances Perklns Buliding ngtag gs
200 Constitutlon Avenue, l\iW

Washlngton, DC 20210

http:!fwww.doi.gov/esa/regs/compliancefwhdfprinl:page.asp?REF='~whdfs¢l-¢l.htm 04/30/2007

 

 

 

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Exhibit B

 

 

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U.S. Depal'tmel‘|t Of LabOl’ Ofiice ofAdministrative Law Judges
50 Fremont Slreet - Suite 2100
San Franoisoo, CA 94105

 

(415) 744-6577
(415} 744-esaa (FAX) '
Issue Date: 30 November 2006

Case No.: 2006-TLC-00013

fn the Motter off

GLOBAL HORIZONS, INC.,
GLOBAL HORIZONS MANPOWER, INC., and

MORDECHAI O`RlAN, an individual,
RESPONDENTS.

Appearances:

Barbara A. Mat:thews, Esquire
Normau E. Garcia, Esquire
Office of the Solicitor of Labor
For the Administrator

Mindy S. Novilc, Esquire
Dean A. Rocco, Esquire
Jackson Lewis LLP

F or the Respondents

Bef'ore: WILLIAM DORSEY
Administrative Law lodge

Decision and Order Dismissing Untimely Request for Hearing

The parties have filed opening and supplemental arguments on the motion the
Adrninistrator of the Department’s Ot`fice of Foreign Labor Certiflcation, Employment and
Training Administration, filed to dismiss the Respondents’ request for hearing as untimely.' The
Respondents’ opposition to the dismissal includes exhibits and declarations, so the analysis is not
confined to the Administrative Record the Department prepared2 l find that: (l) the request for
hearing was filed latc, (2) the doctrine of equitable tolling sets the standard for determining
whether to accept it, and (3) the Respondents fail to satisfy that standard The request for hearing

 

‘ The Order for Further Brioflng entered on Oot. 4, 2006 asked the parties to broaden their research on the
standard to be applied in deciding whether to accept a late filingl

2 The certified copy of the administrative record the Departrnent scrvcd, as 20 C.F.R. § 655.1 12(21)(1)
(2006) requires, includes 157 pages

 

 

 

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is dismissed Dismissal makes the Department’s J'nly 27, 2006 Determination and Notice of
Prospective Denial of Temporary Alien Agricultural Labor Certiflcation for Three Years (the

Determination Notice) the Secretary of Labor’s final order

A. The Context: Congress Requz`res that H-ZA Maz‘ters be Expedited

Agricultural workers have been admitted temporarily (i.e., as nonimmigrants) to the
United States for over 50 years. The H-ZA visa program had its genesis in the Irnmigration and
Nationality Act of 1952 (the Irnmigration Act). Subparagraph (H)(ii) of Section lOl(a)(lS) of the
Immigration Act described an eligible foreign worker as:

(H) an alien having a residence in a foreign country which he has
no intention of abandoning . . . (ii) who is coming temporarily to
the United States to perform temporary services or labor, if
unempioyed persons capable of performing such service or labor
cannot be found in this country. 8 U.S.C_A. § 110l(a)(15)(H)(ii) .

A staff report prepared for the Committee on Education and Labor of the House of
chresentatives gave this summary of the objectives of the 1952 legislation:

In creating the H-2 program, Congress attempted to address the
problems that DOL had documented pertaining to wage depression
and job displacement caused by foreign agricultural workers An
explicit intent of the law, therefore, was to reserve American jobs
for American workers 'I`hus the H-Z program allowed the
admission of nonimmigrant Workers into the U.S. to perform
temporary services only if willing, able and qualified U.S. workers
could not be found Further to offset the adverse impact of foreign
labor on the domestic agricultural labor market, the regulations
required H-Z agricultural employers to pay an enhanced wage rate,
known as the "adverse effect wage rate." Staff of House Comrn. on
Education and Labor, 102d Cong., lst Sess., Report on the Use of
Temporary Foreign Workers in the Fiorida Sugar Cane lndustry 3
(Comm. Print 1991)

The Imrnigration Reform and Control Act of 1986 amended the 1952 Irnmigration Act to
create a new category of temporary agricultural worker (designated an "H-ZA" worker), defined

B.SI

(H) an alien . . . (ii)(A) having a residence in a foreign country
Which he has no intention of abandoning who is coming
temporarily to the United States to perform agricultural labor or
services, as defined by the Secretary of Labor . . . of a temporary or
seasonal nature.. 8 U.S.C.A. § l lOl(a)(H)(ii)(A)

 

 

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The House staff report gave this reason for the new category:

fn response to complaints by the agriculture industry that the H-Z
program was too burdensome and inflexible to meet its labor
needs, Congress amended the program in 1986 to create separate
agricultural and non-agricultural temporary foreign worker
programs . . . . The new agricultural program is known as "H-ZA,"
after the new subsection designation The process of' applying for
temporary foreign workers has been greatly streamlined under the
H-?.A program. However, the amendment also has incorporated
into the statute many of the protections for U.S. workers that
previously had been established by regulation under the H‘Z
program. The H-ZA statute continues to prohibit the admission of
temporary foreign workers at wage rates or working conditions
which will adversely affect similarly-employed United States
workers Report, supra, p.3, 4.

Today foreign nationals may be granted visas to work temporarily in the United States
when there are not enough workers in this country who are able, Willing, qualified and available
at the time and place needed to perform agricultural labor or services. 8U.S.C.A. §§ll()l
(a)(lS)(H)(ii)(a), 1184(3), (c) (West 2005); 20 C.F.R. § 655.90(b)(1) (2006). Employers who
need the labor (or their agents, such as the Respondent Global Horizons, Inc.) petition for the H~
2A visas that will admit these agricultural workers to the United States. 8 U.S,C.A. § 1184(b),
(c)(l) (West 2005); 8 C.F.R. § 214.2(h)(l)(i) (2006). Statements in the application and all
interactions with the Department must be truthful. 29 C.F.R. § 501.7 (2()06).3 The Secretary of
Labor’s regulations describe the process used to certify that qualified United States workers are
unavailable for the jobs, and that the temporary employment of the foreign workers will not

 

3 That H-ZA program regulation emphasizes the candor requirement, stating:

“lnforrnation, statements and data submitted in compliance with provisions of the
[Immigration] Act or these regulations are subject to title 18, section 1001, of the U.S. Code,

which provides:

Section 1001. Staternents or entries generally

Whoever, in any matter within the jurisdiction of any department or agency of the
United States knowingly and williiilly falsities, conceals or covers up by any trick, scheme, or
device a material fact, or makes any false, fictitious or fraudulent statements or representations, or
makes or uses any false writing or document knowing the same to contain any false, fictitious or
fraudulent statement or entry, shall be fined not more than 510,000 or imprisoned not more than

five years, or both.”

 

 

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adversely affect the wages4 and working conditionss of similarly employed'workers in that part
of the United States. 8 C.F.R. § 214.2(h)(5)(ii); 20 C.F.R. §§ 655.90(b)-(d); 655 ,103.

The Secretary of Labor enforces both the attestations an employer makes in a temporary
agricultural labor certification application, and the regulations that implement the H-ZA program.
29 C.F.R. §§ 501.1, 501,5, 501.16 and 501.17 (2006). If foreign workers are paid sub-standard
wages or subjected to sub-standard conditions, the market for farm laborers or services Would
prefer less costly temporary foreign workers, to the detriment of Americans.€' False or fraudulent
assurances about the jobs, Wages or working conditions, or the failure to abide by program
regulations may result in {l) monetary penalties imposed by the Department’s Employrnent
Standards Administration, (2) debarment from filing other H-ZA certification applications
imposed by the Emplo)u‘nent and Training Adrninistration, and (3) proceedings for specific
performanceJ injunctive or other equitable relief in U.S. District Court. 20 C.F.R. §§ 655.103;
655.ll0 (2006); 29 C.F.R. §501.19, 29 C.F.R, § 501.16 (c) and (d) (2006). The authority for
these various enforcement strategies is found in 20 C.F.R. § 655.90(b)(2)(2)(A) and 29 C.F.R.
§§ 501.15 and 501.16. The lmmigration Act forbids the Secretary of Labor to certify an

employer’s H-2A application when:

The employer during the previous two-year period employed H~ZA
workers and the Secretary of Labor has determined, after notice
and opportunity for a hearing, that the employer at any time during
that period substantially violated a material term or condition of
the labor certification with respect to the employment of domestic
or non-immigrant workers 8 U.S.C.A. § llSS(b)(Z)(A) (West
2005).'

Ternporary labor certifications require exceptionally swift handling so that farmers can
harvest crops or breed farm and range animals as growing and breeding seasons dictate. See
generally 20 C.F.R. § 655.101(6), 64 Fed_ Reg. 34957, 34961-34962. The employer may file an
H-ZA certification application just 45 days before the workers are needed. 8 U.S.C.A.
§ 1188(¢)(1) (West 2005). The Department must tell the employer about any deficiencies in the
application within seven days, and offer to let the employer make a "prompt resubmission of a

 

‘ See 20 C.F.R. § 655.107 (2006) on the mandate to pay prevailing wages, and how those wages are

Computed.

5 The employer must arrange to house the temporary foreign workers; protect them from the economic
consequences of job injuries with workers’ compensation insurance; furnish necessary tools, meals, and
transportation; guarantee the number of paid work days at the prevailing wage rates; pay the workers at frequent
intervals; and keep records to demonstrate compliance with these requirements 20 C.F.R. §§ 655.102(b)(l) through

(14).

6 Two examples m insurance and labor disputes _- illustrate how the Immigration Act inhibits employers

from gaining an advantage through hiring temporary foreign agricultural workers The employer must provide

insurance benefits to H-2A workers, for any injury or disease that arises out of and in the course of the employment,
that are no less generous than the benefits state law requires for similar workers 8 U.S.C.A § llSS(b){S) (West
2005) and 20 C.F.R, §655.102@)(2) (2006). The employer also must attest that the jobs to be certified are not
vacant because a former employee is on strike or is locked out in the course of a labor dispute 8 U.S.C.A §

iiss(b)(i) (w¢sr 2005) a 20 C.F.a § 655.103(3) (2006).

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modified application.” 8 U.S.C.A. § 1188(c)(2)(A), (B) (West 2005). The modifications must
come within five calendar days. 20 C.F.R. §§ 655.101(c){2); 655.104{0)(2) (2006). The
decision on the application (often denominated a Deterrnination Notice) is due no fewer than 30
days before the employer says the Workers are needed. 3 U.S.C.A. § llSS(c)(3) (W est 2005).7r
When an application is rejected on its merits or because it is incompiete, the employer may
request an expedited review of` the denial- 8 U.S.C.A. § liSS(e) West 2005). At the employer’s
request, an administrative law judge convenes a de novo hearing within five working days after
the judge receives the case file, and the decision is due within 10 days alter the hearing. 20
C.F.R. § 655.112(b)(l) (ii) & (iii) (2006). lt becomes the "f`mal decision of the Secretary, and no
further review shall be given to the temporary alien agricultural labor certification app!icatiou or
the temporary alien agricultural labor certification determination by any DOL official.” 20
C.F.R_ § 655.112(!))(2). These accelerated time frames to advise an employer of any omissions,
to permit a modification, to determine whether to grant the application, to offer review in an
administrative hearing and to issue a final decision, implement the Congressional policy that the
Secretary dispose of H-ZA matters with dispatch.

B. The Hearing Request

The Respondents’ business is to obtain foreign agricultural workers for Arnerican farms
that need them. They may apply for H-2A temporary alien agricultural labor certifications in
their own name (for Globai Horizons Manpower, lnc.) or as agents for employers they represent
8 C.F.R. § 214.2(h)(5)(i)(A) & 20 C.F.R. §655.201(a)(2). Well-versed in H-ZA program
requirements and regulations, they have requested review of the Departrnent’s determinations
before administrative law judges in at least 18 cases since 2003.8 Globa{’s employees include an
immigration attorney See, the response to the Department’s motion to dismiss at pg. 2, and,the

declaration of Arik Ben-Ezra_

The Respondents have experience with debarment notices too. The Departrnent brought
an earlier proceeding to debar these Respondents, that sought additional relief as well. 112 re:
Global Horizons Manpower, Inc. and Mordechai Orierz, Cases No. 2005-TLC-00006 and 2005-
TAE»OOGOI. The Department alleged they had committed several substantial violations of the

 

7 The Secretary's regulations have not yet been updated, and continue to reflect an older 20-day
requirement 20 C.F.R. §§ 655_101(b)(l); 655.101(c)(2) (2006). Section 748 of Public Law l06-78, dated October
22, 1999, amended section 218{0)(3)(A) of the Immigration Act [8 U.S.C.§ llSS(c)($)] by changing "20 days" to

"30 days."

8 Global Horizons, Inc., 2006»TLC-14 (ALJ Sept. 19, 2006); Global Horr`zon.s', Inc., 2006-TLC-10 (ALJ
Sept. 19, 2006); Global Horz'zons, Inc. (Creeksia'e A{ushroom.s‘, Lt¢'l.), 2006-TLC-6 (AL} May 17, 2006); Global
Hort`zon.r, Inc., 2006-TLC-4 (ALJ Mar. 2, 2006); Global Horz'zons, Inc., 2005-TLC-18 (ALJ Oct, 7, 2005); Global
Horizons, Inc., 2905-TLC~14 (AL.T .Iune 21, 2005); Global Horizom'. Inc., ZOOS~TLC-lZ (ALJ May 25, 2005;
Global Horizons, Inc. (Val!ey Fruit Orchard and Green Acre Farm), 2005-TLC-li (ALJ June S, 2005); Global
Horizons, Inc., ZOOS~TLC-lo (AL] May 25, 2005); Global Horizon.r, Inc. (Valley Fruit Orchards), 2005-TLC-9
(ALJ June l, 2005); Global Horz'zons, Inc‘, 2005-TLC»7 (ALJ Apr. 28, 2005); Global Horizons Inc. (Zirkle Fmit
Cc.), 2005-TLC-l {ALI Oct. 18, 2004); Globai Horizorzs (Green Acr'e Farm), 2005-`[`1.€-¢{L (ALJ Feb. 25, 2005);
Global Horz`zons (Zr`rlcle Farms), 2005-TLC-3 (ALJ Feb. 25, 2005) ; Global Horfzons Im:_ (Kauai Coj”ee Co.), 2004-
TLC-l3 (ALJ Sept, 27, 2004); Global Horizons Inc,, 2004-TLC-11 (ALJ .iuly 30, 2004); Global Horz'zons
Manpower, Inc., 2003-TLC-9 {ALJ Aug. 4, 2003); Global Horizons Manpower. Inc., 2003-TLC-5 (ALJ Apr, 11,
2003). See www.oalj.dol.gov/PUBL]C/INA/REFERENCES/CASELISTS/TLC_DECISIONS.HTM,

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regulations that govern the terms and conditions of the H-2A workers’ employment, the workers’
benefits, and the workers’ pay with respect to aliens who labored on farms in Hawaii. See the
Department’s February 23, 2005 Detennination and Notice of Prospective Denial of Ternporary
Alien Agricultural Labor Certitication for Three Years (Debarment Notice). The Department’s
Debarment Notice in that consolidated case was sent by certified mail, but addressed to the
Respondents at 1047-4 Santa Monica Boulevard, Suite 403, bos Angeles, California 90025.
Their former lawyers, McGuiness, Norris & Williams LLP of Washington, D.C., served the
Respondents’ request for hearing on March 2, 2005. The Respondents alleged in their hearing
request that the Debarment Notice had been misaddressed, and that the Respondents’ correct
address was nearby at lllll Santa Monica Boulevard, Suite 1440, Los Angeies, California
90025. The Hawaii debarment matter remains pending at the Of’fice of` Administrative Law
Judges, after the Respondents withdrew from a settlement that had been approved9

-Based on that rather recent experience, there was no reason to believe that mailing
another notice by certified mail - correctly addressed this time - would impair the Respondent’s
ability to request a hearing in a timely fashion The Determination Notiee from the
Administrator of the Office of Foreign Labor Certification found, based on his investigation, that
in a certification application for jobs in California for the period from August l, 2003 to April
30, 2004, the Respondents (l) willfully and fraudulently misrepresented that Global Horizons
Manpower Inc. had contracts with 'l`aft Vegetable I~`arm f`or 200 workers when there was no
contract and there were no jobs, and (2) knowingly gave false information, viz., that H-ZA
workers brought into the country had been terminated for cause (poor perfonnance), when they
had been terminated because the Respondents had no work for them. Adrninistrative Record
(AR) at 14. The implication was that the Respondents brought those workers into the country
without work, shopped them to farmers after they arrived, and when unsuccessf`ul, fired them.
AR at 3-4; 8; 13-14; 144. These willfully false statements, which are “substantial violations,”m
led the Administrator to impose the maximum penalty, barring the Respondents from submitting
any other H-ZA certification applications for three years.

The Administrator’s July 2?, 2006 Detennination Notice explained how to contest the
debarment Tracl<ing 20 C.F.R. § 655.110(a), it advised the Respondents that they:

ha[d] the right to request an expedited administrative review or a
de novo hearing of this Determination before a United States
Department of Labor Administrative Law Judge. lf` either of the
[Respondents} makes such a request, the request must be in writing
and dated, must specify whether an administrative review or de
novo hearing is requested, and must be served on the Department
of` Labor, Ernployment and 'l`raining Administration, Office of
Foreign Labor Certification, Attention: Bill Carlson, 200
Constitution Avenue, N.W., Room C-4312, Washington, D.C.

 

9 The facts in this paragraph are based on the Notice of intent to Take Otfxcial Notice issued on Oct. 4,
2006. No party objected to it.

w See the definition of the term at 20 C.F.R. § 655.1 lO(g){l)(i)(E) (2006).

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20210, within seven calendar days of the date of this
Detennination Notice.

The Respondents received the certified mail on August 3, 2006, 7 calendar days after it
was mailed AR at 5. Their request for a de novo hearing was sent by overnight delivery to the
Adrninistrator on Friday, August 11, 2006, eight days after the Deterrniuation Notice was
delivered to them They made no request to extend their time to respond, nor did they
acknowledge that their request for hearing was late. The Administrator received their hearing
request the next business day, on Monday August 14, 2006. AR i; 2.

Through the declaration of Arik Ben-Ezra, the Respondents state that Global’s Hurnan
Resources department provided the Determination Notice to its legal department “approximately
a week after it was delivered,” at which point the legal department “acted quickly” to send the
hearing request by overnight delivery on Friday, August 11, 2006. The employee who had
signed the receipt for the certified mail, Rob Rutt, says he deiivered it on August 3, 2006 (a
Thursday) to an administrator who gave it to an employee who scans mail into the computer
system. Alejandra Rosales, who did the scanning, declares that she scanned it “in the late
afternoon,”ll and forwarded it on to the Human Resources Department.

The hearing request was late, not because the Respondents failed to mail it on August 3,
2006, but because it languished for eight caiendar days before anyone did anything about it.
Scanning obviates the need to shuftle paper around because correspondence becomes digitally
available throughout the office network The central question is why nobody dealt with the
Deterrnination Notice for over a week, not so much why the paper itself sat somewhere at the
Human Resources department The declarations offer no explanation

C_ The Standard Used to Determine Whether to Accepz‘ Belated Reque.s'ts]%)r Hearing
or Review ar the Departmenr of Labor

l. Lateness as a Jurisdictional Defect

 

The short time available for what the statute’s catchline calis “administrative appeais” is
rooted in the statutory text requiring that the Secretary’s “[r]egulations shall provide for an
expedited procedure for . . . review.” 8 U.S.C.A. § ll'SS(e)(l) (W est 2005). Through rulemaking
the Secretary set the period as “seven calendar days” from “the date of the notice.” 20 C.F.R.

§ 655.1 lO(a)(2006).

The only decision within the Department of Labor to consider the effect of a late request
for an expedited review under the H-ZA regulations involved the rejection of a facially
unacceptabie application, which is governed by a different regulation that also allows seven days
to seek review. See 20 C.F.R. § 655.104(0) (2006).12 That employer’s hopelesst late request

 

n Exhibit B to her declaration fixes the time as 3:44 p.rn.

12 The pertinent regulations text, which governs expedited review of a determination not to accept an H-ZA
application for consideration, requires that the notice the Departrnent sends to the employer “state that in order to
Obtain such a review or hearing, the employer, within seven calendar days of the date of the notice, shelf tile by
facsimile (fax), telegram, or other means normally assuring next day delivery a written request to the Chiet`
Administrative Law Judgc cfthc Departrnent of Labor . . . .” (ernphasis added] 20 C.F.R. § 655.104{\::)(3) (2006].

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for review was submitted on Novem’oer 3, 1998, when the determination served on August 21,
1998 informed him of the option to submit a modified application within five days, or to request
a judge’s review within seven. The administrative law judge held the overdue hearing request
left him without jurisdiction, and dismissed it. Mr`ke Langley Farms, Inc., 1999»TAE~001 (AL.l

Nov. 13, 1998).

Most administrative bodies and courts treat regulations that set the time to tile a request
for a hearing or for review not as grants of jurisdiction but as limitations periods that are subject
to equitable tolling The jurisdictional ruling was never subject to review within the Departrnent
of Labor because a presiding administrative law judge’s decision becomes the Secretary’s final
order. 20 C.F.R. § 655.112(2)(b).£3 The Administrator has not argued that this hearing request
must be dismissed for want of jurisdiction, and I regard the jurisdictional holding in Mike

Lcmgley Farms, Inc. as an error.

Whether the failure to tile a timely request for a judge’s review is considered a
jurisdictional defect, or one that could be excused on a proper showing, the Respondents have
failed to show that their late request for hearing should be accepted

2. Standards Aoolied in H-lB Matters

The Secretary of Labor adjudicates other matters arising under the lrnrnigration Act’s
visa programs that provide useful authority by analogy Arnong these are complaints that an
employer violated a labor condition application the employer filed to obtain an H~lB visa to
admit a nonimmigrant alien to work temporarily in a specialty occupation14 8 U.S.C.A.
§§ll()l(a)(l$)(H)(i)(b); 1182(11)(2) (West 2005); 20 C.F.R. § 655.810 (2006). Administrative
law judges have dismissed late requests for hearing under that program. Alhames v. Sourh Coast
Auto Insurance Marketing ]nc., 2006-LCA~8 (ALJ April 12, 2006) (dismissing an l-I~IB
worker’s untimely hearing request that sought to challenge the Department’s calculation of the
amount he had been underpaid); U.S. Dep 'r of Labor v. Vibex, Inc., 2003-LCA-9 (ALJ March 25 ,
2003) (dismissing an H-lB einployer’s untimely hearing request that sought to review the
Department’s determination that it underpaid its H-IB workers almost 381,000). Those
decisions did not discuss the circumstances in which a late request might be accepted, however.

 

n 'l`he contrary Statement in the Order for Further Brieiing entered on Oct. 4, 2006 at pg. l was an error.
The Administrative Review Board has no jurisdiction to review this decision

“ A “specialty occupation” is one that requires entry level employees to have mastered a body of highly
specialized theoretical and practical knowledge by earning a baccalaureate or a more advanced degree 2 U.S.C.A.
§ 1184(1`)(1) (West 2005); 8 C.F.R. § 214.2(h)(4)(ii1`)(A) (2006); 20 C.F.R. § 655.715 (2006). Architecture,
engineering mathematics, physical sciences, social sciences, medicine and health, education, business specialties,
accounting, law, theology, and the arts are examples 8 C.F.R. § 214.2(h)(4)(ii) (2006). The U.S. Citizenship and
immigration Services component of the Departrnent of Horneland Security identifies and defines the occupations

covered by the H-IB category and determines whether the alien qualities to work in those occupations 8 C.F.R.
§214.2(h)(4){iv) (2006). The Secretary of Labor approves and enforces the labor condition applications the
employers must make to obtain H-
Reg. 65,646 (Dec. 20, 1994)_

lB visas for those workers. 20 C.F.R. § 655.705; §§ 655.800-855 (2006); 59 Fed.

 

 

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The Administrative Review Board (Board) reviews administrative la_w judge decisions
and issues final orders in H-IB matters on behalf of the Secretary of Labor.13 The Board takes
an exacting approach When requests for its review are filed late. lt dismissed, for example, an
appeal from an administrative law judge’s decision that an H-lB employer owed six workers
about $80,000 when the review petition arrived two days late. Administrator v. Wr'ngs Digital
Corp., ARB No. 05_-090, ALJ No. 2004-LCA-30 (ARB luly 22, 2005).

As it decides whether to accept untimely petitions,` the Board applies the demanding
standards for equitable tolling the federal courts have developed in decisions such as School Dist.
of the Cin ofAflentown v. Marskall, 657 F.2d 16, 18 (3rd Cir. 1981). The opinion in Marshall
emphasizes how sparingly Article lII courts dispense equitable relief The Third Circuit held the
requirement that an employee complain to the Secretary of Labor within 30 days of alleged
employment discrimination, found in the whistleblower protection provision of the Toxic
Substances Control Act,16 is not jurisdictional and might be extended by equitable tolling lt
then reversed the Secrctary’s decision that permitted a teacher to complain about how his public
employer treated him, because he failed to present the matter to the Secretary within that
statutory 30-day window. The teacher wanted to investigate personally whether asbestos was
present in school buildings on the district’s campuses, but was allowed free access only to the
campus where he taught A state environmental resources agency had already investigated for
asbestos on other campuses. The three acts of discrimination the teacher alleged (refusal to let
him roarn district buildings freely; questioning him about one of his lesson plans, allegedly as an
act of retaliatory harassment and not allowing him to take a second day of paid leave for
personal convenience Without giving a reason for his absence) all took place no later than April
5, but he waited to complain to the Department of Labor until May 29. As the court rejected the
Secretary’s decision to accept and to adjudicate the tardy complaint it reminded the Secretary
that the requirements for equitable tolling are to be “scrupulously obscrvcd.” Id. at 19. To
succeed, the teacher had to fit Within the principal situations the case law reco§iized were

justifications for tolling, which were that:
(1) the district actively misled him about its rights to seek relief
under the Toxic Substances Control Act, or

(2) he had been prevented in some extraordinary Way from
asserting his rights, or

(3) he mistakenly had presented the precise statutory claim in a
timely manner in the wrong forum.

 

15 The Board’s jurisdiction is set in Secretary's Order No. 1~2002, published at 67 Ped. Reg. 64,2?2 (Oct.
17, 2002).

"’ 15 U.S.C.A. § 2622(b) (West 1998). Short complaint periods are found in several environmental
whistleblower protection statutes, including the Safe Drinking Water Act, 42 U.S.C.A. § 300j-9(i) (West 2003); the
Water Pollution Control Act, 33 U.S.C.A. § 136'7 (West ZOOl); the Toxic Substances Control Act, l5 U.S.C.A.
§2622 (West 1998); the Solid Waste Disposal Act= 42 U.S.C.A. § 5971 (West 2003); the Clean Air Act, 42
U.S.C.A. § 7622 (West 2003); and the Cornprehensive Environmental Response, Compensation and Liability Act,
42 U.S.C.A. § 9610 (West 1995), all of which are implemented at 29 C.F.R. § 24.1(a) and § 24.3(b) (2{}06).

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None applied Under the Marshalf conrt’s approach, whether the school district was
prejudiced in defending the whistleblower claims was not an independent factor; it would enter
the calculus only if a traditional factor supporting equitabie relief were present.r'F The court
rejected the Secretary’s order that had extended the complaint period because the school district
did not prove that doing so would have prejudiced its defense somehow (e.g., by showing that
material evidence became unavailable because witnesses could no longer be located, or their
memories had faded). Ia'. at 20. With a statutory 30-day limitation period, showings of that kind
would be virtually impossible, so the whistleblower complaint period would be subject to routine
extensions Congress had balanced the employees’ right to file retaliation complaints against the
limited time their employers “would be exposed to liability.” Id. at 21_ lt was not the Secretary’s
role to strike another balance The court “set aside” the Secretary’s decision as an action taken
“in excess of statutory limitations,” applying the judicial review standards of the federal
administrative procedure act, 5 U.S.C.A. § 706(2){€) (West 2005).

Here, in a variation on Marshall’s theme, Congress insisted on expedited review in 8
U.S.C.A. § llSS(e) (West 2005), and the Secretary set the number of days for the procedural
steps in H-2A matters through notice and comment rulemaking I believe that the standards for
equitable tolling also Ought to be used in deciding whether to accept this late hearing request

The Administrative Review Board has come to regard the three Marshal! factors as
nonexclusive, so equitable tolling is best conceived as having a fourth, catch-all factor that
permits the adjudicator to consider any truly exceptional circumstances those three do not
encompass Wz'ngs Dz`gi!al Corp., supra, ARB slip op. at 4. This fourth factor is not applied

expansively, however.

The claim by the lawyer for Wings Dz'girnl that he couldn’t tile on time because he
suffered from a “pounding headache and fever” in the iast days of the filing period lett the Board
unmoved. The review petition itself was dated two days before the due date, so the Board
reasoned that a lawyer well enough to draft it ought to have been able to fax it to Washington, or
to contact the Board to request an enlargement of the filing time. He did neither. The lawyer’s
other argument, that he thought he had 30 days from receipt of the administrative law judge’s
decision to petition for review, was refuted by the decision’s “unambiguous statement of the
steps [any party] must take to perfect its appeal,” which informed the parties that a “petition for
review must be received by the [Board] within 30 calendar days of the date of the Decision and
Order.” Id. at 3, 5. The Board held that ignorance of legal rights is no basis to toll a statute of
limitations Neither the claim of illness nor the claim to have misunderstood the time available
to seek review presented an “extraordinary circumstance that excuse[d] Wings Digital’s failure

to timely tile its petition.” ]d. at 5.

 

'7 The U.S. Supreme Court used similar language three years later when it held: “[a]lthough absence of
prejudice is a factor to be considered in determining whether the doctrine of equitable tolling should apply once a
factor that might justify such tolling is identified, it is not an independent basis for invoking the doctrine and
sanctioning deviations from established procedures." Baldwin Co. Welcome Centr. v Brown, 466 U.S. 147, 152

(1934).

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3. Standards Applied in Whistleblower Protection Matters

a) Statutes related to transportation safety

The Board has affirmed an administrative law judge’s dismissal of whistleblower
protection claims a professional truck driver made under the Surface 'l`ransportation Assistance
Actis when he waited almost 10 months to request a hearing Each time OSHA informed him
that its investigations found no merit to any of the three claims he filed, he was told he had 30
days to request a hearing Tavares v. Swlft Transportarion Co., ARB No. 01-036, ALJ No. 2001-
S'l`A-l3 (ARB Oct. 2, 2001). That Act states that "the complainant and the person alleged to
have committed the violation may file objections to the findings or preliminary order [of OSHA],
. . . and request a hearing on the record . . . . If a hearing is not requested within 30 days, the
preliminary order is iinal and not subject to judicial review." 49 U.S.C.A. §31 lOS(b}(Z)(B) (West
2005).19 The administrative law judge found that the truck driver offered no reasons that
justified equitable tolling of his time to request a hearing, so all claims were dismissed ld. at 2. '

The Board applies strictly the regulations that set short periods of 19 to 15 days20 to
petition for review when a whistleblower protection complaint involves an air carrier. in a
matter filed under the Wendell H. Ford Aviation lnvestrnent and Refonn Act for the 21st
Century,21 a petition for review sent by overnight delivery that arrived in Washington, D.C. one
day late was dismissed, in part because the worker could have faxed it to the Board on the due
date. Herchak v. Amerz'ccz WestAz'rlines, Inc., AR.B No. 03-057, ALJ No. OZ-AIR-OOOIZ, slip op.
at 6 (ARB May 23, 2003), rev. denied 125 Fed. Appx. 102 (ch Cir. 2004) {unpublished).22 The
Board’s “internal procedural rule” setting the short filing time was adopted “to expedite the
administrative resolution of cases,”23 something equally true of the expedited final orders
administrative law judges issue for the Secretary in H-ZA matters The worker in Herchak failed
to carry his burden, for the opposing party had not misled him, he had not liled mistakenly in the
wrong forum, and no extraordinary event precluded a timely filing Id. at 6 (ernphasis by the
Board). A party’s own negligence is not an extraordinary circumstance that qualifies for

 

"' 49 U.s.C.A. §31005 (wesi 199r)_

19 The Secrctary‘s regulation essentially repeats the Act, saying that: “[i]f no timely objection is filed with
respect to either the findings or the preliminary order [made by OSHA after investigating a complaint], such
findings or preliminary order, as the case may be, shall become final and not subject to judicial review.” 29 C.F.R.

§19'?8.105(1'.\)(2) (2006).
20 Under an interim regulation the time to tile a petition for review in air carrier whistleblower matters had
been 15 days from the date of the administrative law judge's decision 67 Fed. Reg. 15454 (Apr. 2, 2002). The

Secretary’s final regulation now requires that a petition for review be filed within 10 business days. 29 C-F.R_ §
1979.110(a), 68 Fed. Reg. 14100, 14106 (Mar. 21, 2003) (finding that ten days “is sufficient time to petition for

review of an ALJ decision”).
2' 49 U.s.c.A § 42121 (wesr supp. 2005).

22 ’I`he Ninth Circuit’s unpublished decision affirming the Secretary is not precedent See, Ninth Cir. Rule
36-3 (b) ("Unpublished dispositions and orders of this Court may not be cited to or used by the courts of this
c-ircuit.") and Har! v. Massanarz', 266 F.3d l 155, l159 (9tlr Cir. 2001) (applying the no~citation rule).

23 Herchak, supra, A.R.B slip op. at 4-5.

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equitable tolling. Mi'randa v. Castro, 292 F.3d 1063, 1067 & n. 4 (9th Cir. 2002) (appiying the
standards for equitable tolling to reject a habeas corpus matter under the Antiterrorism and
Et`fective Death Penalty Act of 1996, 28 U.S.C.A. § 2244(d)(1)(A)).

b) Statutes related to financial markets

The equitable tolling standard has been applied to dismiss an appeal under whistleblower
protection provisions of the Sarbanes-Oxley Act.24 Minkz`na v. A]jiliated Physician’s Group,
ARB No. 05-074, ALI No. 2005-SOX-19, slip op. at 5 (ARB luly 29, 2005) (finding the
inability to retain counsel is not an extraordinary event that justified filing a review petition
nearly two weeks late; the administrative law judge’s decision gave the unrepresented party
correct instruction about when a petition for review was due).

c) Statutes related to nuclear and environmental protection

These rigorous equitable tolling standards have been applied under the nuclear and
environmental whistleblower protection statutes,25 where a separate re,<:,rnlation26 also requires
that parties file their petition for review with the Board within 10 days of the date of
administrative law judge’s decision See e.g. Dumaw v. Int’l Brotherhood of Teamsters, Local
690, ARB No. 02-099, ALJ No. 2001-ERA-6 (ARB Aug. 27, 2002), aj”d sub nom. Dumaw v.
U.S. Dept. ofLabor, No. 02-?3020 (9th Cir. 2003) (unpublished) (rejecting a late petition in a
proceeding brought under the Energy Reorganization Act); Hemz`ngway v. Northeasf Utiiities,
ARB No. 00-074, ALJ Nos. 99-ERA-l4 & 15, slip op. at 4»5 (ARB Aug. 31, 2000) (sirnilarly
rejecting a petition for review filed in a Energy Reorganization Act matter 15 weeks out of time);
and Duncan v. Sacramento Merro_ Ar`r Qualily Mgmt. Dist., ARB No. 99-01, ALJ No. 97-CAA-
121 (ARB Sept_ l, 1999) (accepting a late petition for review in a proceeding under the Clean
Air Act that the pro se party had filed on time, at the Office of the Chiet` Adrninistrative Law
lodge rather than at the Board); Gurierrez v. Regents of the University of Caliform'a, ARB Case
No. 99-116, ALJ Case No. 98-ERA-19; Order Accepting Petition for Review and Establishing
Briefing Schedule (AR_B Nov. 8, 1999) (accepting a review petition in a proceeding under the
Energy Reorganization Act filed by a party represented by counsel on time, but also at the 0ffice
of the Chief Adrninistrative Law Judge). Petitions for review of whistleblower protection
decisions under the Pipeline Saf`ety linprovement Actz? must be filed within 10 days as well. 29

C.F.R. § 1981.110(3) (2006).

 

24 18 u.s.C.A. § 1514A (west supp. 2005).

15 These include whistleblower retaliation claims made under the statutes listed in footnote 16, supra, and
the Energy Reorganjzation Act, 42 U.S.C.A.§ 5851 (West Supp. 2005).

26 29 C.F.R. § 24.8(&) (2006], which reads: “[a]ny party desiring to seek review, including judicial review,
of a recommended decision of the administrative law judge shall file a petition for review with the Administrative
Review Board ("tlte Board"), which has been delegated the authority to act for the Secretary and issue final
decisions under this part. To be eff`ective, such a petition must be received within ten business days of the date of the
recommended decision of the administrative law judge, and shall be served on all parties and on the Chief

Administrative Law Judge. (ernphasis supplied).

27 49 u.s_c.A. § 60129 (west supp. 2005).

 

 

 

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4. Standards Applied in Davis-Bacon Act Matters

Equitable tolling has been applied under the Davis~Bacon Athg to permit a late review
petition when the administrative law judge’s decision misinformed the parties about the time
available to tile it. 111 re Tri-Gem Builders, ARB No. 99-117, ALJ No. 1998~DBA-17, slip op. at
4-5 (ARB Nov. 22, 1999). The substantive portion of the trial decision had required a contractor
to pay back wages to employees and debarred it from future government contracting The
Board’s procedural ruling was a variation on the typical requirement for equitable tolling, that
the opponent affirmatively mislead the party about his or her rights The decision to accept the
appeal exemplifies the catch~all fourth factor that the Board articulated more clearly in its later
decision in Administ?‘ator v. Wings Di itel Corp., ARB No. 05-090, ALJ No. 2004-LCA-30
(ARB July 22, 2005), discussed above2 Ultimately the parties in Tri-Gem Buila’ers settled, so
the Board issued no decision on the merits. The Adrninistrator’s Deterrnination Notice delivered
to these Resporidents was not misleading, however, so the basis for tolling Tri~Gem Buflders

articulated would not apply to them.

The Board did accept a review petition in a Davis-Bacon Act matter that was filed three
days late because the lawyer miscalculated the due date when he added the flve days for mailing
that the procedural rules of the Office of Administrative Law Judges authorize Superfor Paving
& Materfais, ARB NO. 99-065, ALJ No. 1998~DBA~11 (ARB Sept. 3, 1999). Those rules for
the trial level do not apply before the Board. The Board seemed to have been impressed that the
review petition would have been filed two days early if the way the lawyer computed time had
been correct lt decided that the litigant had not “slept on his rights,” and that the Departrnent
has not been prejudiced The Board never mentioned that the administrative law judge’s
decision had correctly stated the procedure to obtain review, something it emphasized in its more
recent Minkina, Wings Dz`gital Corjp., Herchak, Hemingway, and Tavares decisions discussed
above. Evidence that a party was informed correctly about how to protect his or her rights
affects Whether the failure to take those steps will be forgiven, even when the party acts only a
few days late. See Baldwfn Counzj) Welcome Cnrr. v Brown, 466 U.S. 147 (1_984) (denying
equitable tolling for a Title Vll claim and explaining that “[o]ne who fails to act diligently cannot
invoke equitable principles to excuse that lack of diligence, ” id. at 15l).

D. Standards Applied Under Federai Procurement-Related Debarment Programs

The Administrator imposed a prospective refusal to accept temporary alien agricultural
labor certifications from the Respondents for three years, something analogous to procurement-
related debarrnents. The federal govemrnent has well-established processes to make businesses
and individuals ineligible for procurement contracts or nonprocurement programs30 Debarment
reduces the harm the government suffers by continuing to do business with entities or individuals

 

23 40 U.s.C.A. §2763 erreq. (wesr 2001).

29 It might also be viewed as a situation where the judge “led the fciaimant] to believe that [he] had done
everything required,” whichjustities toiling. Baldwin Co. Welcome Cntr. v. Brawn, 466 U.S. 147, 151 (1984).

39 Nonprocurement programs include federal financial and non-financial assistance and benefits such as
ants coo erative agreements, scholarshi s, fellowshi s, contracts of assistance, loans, loan guarantees, subsidies,
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insurance, payments for specified use, and donation agreements

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who have shown themselves to be unethical or incompetent See generally, Caiola v. Carr'oll,
851 F.Zd 395, 399 (D.C. Cir. 1988). 'l`hose suspended or debarred are added to the List of
Parties Excluded from Federal Procurement and Nonprocurement Programs (EPLS) that the
General Services Administration publishes at ht_tp:!/epls!arnet.gov. The substantive standards for
suspension and debarrnent under procurement and nonprocurernent programs differ from those
the Administrator relied on in this Determination and Notice. I asked the parties to research how
federal agencies have treated untimely responses to suspension, debarment or exclusion notices.
Those decisions have not proven to be particularly helpful, unfortunately

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The EPA requires an entity that receives a debarment notice to tile a petition challenging
the basis for that adverse action within 30 days. 40 C.F.R. § 32.820(a) (2006); 40 C.F.R.
§ 32.313 (199_6).31 It nevertheless allowed a contractor to participate in a debarment proceeding,
when its lawyer filed a late response to the debarment notice. fn the Mazter of' Danny’s
Custodial Care, Inc., EPA Case No. 93-0261-00, 1997 EPADEBAR ll, at *3-*4 (.lune 24,
1997). A second notice of proposed debarment was served on the contractor when it appeared
that the EPA’s original notice likely had omitted an important document that explained the
factual basis for the debarment - the agency’s Action Request Memorandum- The timely
hearing request the contractor filed in response to the second notice mooted the timeliness issue
Ultirnately a three-year government-wide debarment was imposed based on the guilty plea the
contractor had entered to the crime of improper disposal of hazardous waste. The notice the
Administrator sent the Respondents here was not deticient, so the EPA decision adds nothing to

the analysis

The decision in In the Marter of' Ccmmonwealzh Laborarories , Inc,. EPA Case No, 94-
0059»01, 1995 EPADEBAR LEXIS 10 (Aug. 24, 1995) involves no late request for a hearing, so
it is not relevant The appellate authority within the EPA entertained the agency’s untimely
request to reconsider the length of the debarment imposed at the trial level.

 

3' Entitled Opportunity to contest proposed debarment, it read:

(a) Subrnission in opposition Within 30 days after receipt of the notice of proposed
debarment, the respondent may submit, in person, in writing, or through a representative,
information and argument in opposition to the proposed debarment

(l) If the respondent desires a hearing, it shall submit a written request to the debarring
official within the 30-day period following receipt ofthe notice of proposed debarment

(2) [Reserved]

(b) Additional proceedings as to disputed material facts. (l) In actions not based upon
a conviction or civil judgment, if the debarring official finds that the respondents submission in
opposition raises a genuine climate over facts material to the proposed debarment, respondent(s)
shall be afforded an opportunity to appear with a representative, submit documentary evidence,
present witnesses, and confront any witness the agency presents

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2. Department of Agi_'i culture

The Department of Agriculture permitted a respondent additional time to respond to a
debarment notice after the 350-day period to do so had expired. In re.‘ Luis C. Trr`go-Vela, 56
Agric. Dec. 731, l997 USDA LEXIS 82 (Apr. l7, 1997). Two notices of the proposed
debarment sent by certified mail had been returned unclaimed. T he reviewing administrative law
judge found that the agency should also have sent another notice by regular mail, because the
agency knew the respondent “was receiving mail at its last known address.” Id. at *4. The
respondent also had requested an opportunity to respond promptly after it accidentally learned of
the debarment proceeding in the course of a bankruptcy proceeding, before the debarment
became final Here the Adrninistrative Record shows, and the Respondents do not deny, that
they received the Determination Notice by certified mail. They then failed to exercise due

diligence in responding to it,

E. The Standara’s to Vacare A Defau]r under the F ederal Rules of Civil Frocedure

Courts may vacate clerk’s defaults, and judgments entered on defaults, under the
generous Slatldard$ S€f in Rules 55(c) and 60(b) (l)-(6). Fed. R. Civ. P. They encompass “good
cause,” “rnistalce inadvertence, surprise, or excusable neglect,” or “any other reason justifying
relief from the operation of the judgment {entered on the default].”

The failure to respond to a Deterrnination Notice bears a superficial resemblance to a
failure to respond to a summons and complaint, but is more analogous to a failure to tile a
complaint within the statute of limitations Equitable tolling governs the period in which to tile a
cause of action, to request a hearing or to apply for review, while standards such as “good cause"
characteristically apply to deadlines that arise within the course of proceedings that were
initiated within the prescribed time, ln the alternative, agencies are free to adopt procedural rules
and to enforce them strictly, so long as the rules are applied uniformly or exceptions are made
only for good reasons the agency articulates Green Couurry Mobr`l'ephone v. FCC, 765 F.Zd 235,
237 (D.C.Cir. 1985). Agencies are not required to import their standards from Rules 55 or 60,

Fed. R. Civ_ P.

It is a mistake to regard equitable tolling as just one more manifestation of the general
authority courts and administrative agencies enjoy “to relax or modify [their] procedural rules
adopted for the orderly transaction of business before [t.hem] when, in a given case, the ends of
justice require it.” American Farm Lines v. Black Ball Freig}rt Services, 397 U.S. 532 (1970).
No filing deadline to initiate a proceeding was involved in that case, where an applicant Was
seeking authority to operate a temporary shipping route. The unserved shipper was the
Departinent of Defense, which urgently required the services Fl`lne Supreme Court approved the
ICC’s decision to relieve the applicant from a requirement in the Commission’s rules that
applications state the dates motor carriers with existing routes declined shipping requests. The
application from the potential new shipper contained enough detailed information that existing
carriers had been able to tile lengthy, precise and informed objections with the Commission.
The hearing request at issue here is a very different, and uniquely time-sensitive, type of filing

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F. Agencies May Apply Procedural Deadlines Sm'ctly

The courts of appeals routinely affirm strict application of tiling deadlines agency
regulations impose, so long as they are applied consistently The Respondents do not argue that
the Secretary of Labor enforces hearing request deadlines haphazardly.

The D,C. Circuit recently upheld the U.S. Copyright 0ffice's strict interpretation of its
regulations that require copyright owners to tile claims each July, to obtain a proportionate share
of royalties cable and satellite broadcasters pay into a fund that Oflice administers Unfversal
City Studfos, LLP v. Peters, 402 F.3d 1238 (D.C. Cir. 2005). Under the regulations, timely
claims are ones that (l) the Offtce receives during July; (2) the Oflice receives through the Postal
Service on August l; or (3) the Office receives through the Postal Service on or after August 2, if
they bear a July United States Postal Service mark (a) on the envelope or (b) on a certified mail
receipt For claims the Oftice receives after July 31, the regulation says that dates printed on
envelopes by business postage meters do not qualify 37 C.F.R- §252.4(0) (2001). Copyright
owners who could not produce a stamped postal receipt showing that their claims, which the
Copyright Oft`ice received after August l, had been mailed in _luly were denied any share in that
year’s royalties The court of appeals upheld the agency’s refusal to accept sworn statements
from the employees responsible for mailing the royalty claims as proof they had mailed them on
July 30, 2001, or declarations from Postal Service employees to prove that the normal delivery
time for a letter sent from southern California to Washington, D.C. is three32 to five days, as
evidence that their late-received claims had been posted in July. The court also upheld the
agency’s decision that there Was no “specia] or unique circumstance . . . that Would warrant a
waiver ” of the regulation’s requirements Which the copyright owners had requested Id. at
1240. The D.C. Circuit held that an “agency's strict construction of a general rule in the face of
waiver requests is insufficient evidence of an abuse of discretion” (z'd. at 1242), relying -on the
judicial review standards found in the Adrninistrative Procedurc Act, 5 U.S.C. § 706(2)(A) and
Omnz`poinr Corp. v. FCC, 213 F.3d 720, 723 (D.C. Cir. 2000).

The Tenth Circuit upheld the Federal Labor Relations Authority’s right to reject
objections to an administrative law judge’s decision that were not sent to the address the
Authority’s regulations designated, a requirement that the trial judge’s decision repeated The
rejection of the exceptions had the additional effect of depriving the court of appeals of
jurisdiction to consider the substantive error the exceptions sought to raise “[T]hc general rule
is well established that reviewing courts will not overturn an agencfs strict application of its
own procedural regulations so long as the rule is applied uniformly or with reasoned
distinctions.” Tinker Air Force Base v. FLRA, 321 F.Bd 1242, 1247 (lOth Cir. 2002).

The Ninth Circuit found that the National Transportation Safety Board (NTSB) did not
act arbitrarily and capricioust when it strictly applied its filing deadlines Gilbert v. NTSB, 80
F.3d 364 (9th Cir. 1996). The NTSB had dismissed an appeal from an administrative law
judge’s decision upholding the FAA’s 90-day suspension of a commercial pilot’s license for
careless or reckless flying The pilot’s brief to the NTSB was served out of time, due to

 

32 The Oftice likewise rejected evidence from an experiment in which 100 letters were posted from
southern California to Washington. None arrived in fewer than three days, suggesting that a claim the Office
received on August 3 must have been mailed by luly 31.

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problems his lawyer encountered in printing it. The lawyer neglected to serve a request for an
extension of time before the time to serve the pilot’s brief expired (which he could have written
in longhand and mailed the day the brief was due), or when he filed the late brief at the NTSB.
Lilce these Respondents, the lawyer merely filed the document late. When the FAA challenged
the late filing, the pilot argued that his delay had not prejudiced the FAA. The Ninth Circuit
found no due process violation in the NTSB’s dismissal; the court denied the pilot’s petition to
review the NTSB’s finding that the pilot had failed to show good cause33 for his failure to serve
an extension motion within the time available to file the brief. Id. at 368.

G. Eqw`table Toflz`ng in the Ninth Circuz`t

According to the Ninth Circuit, the doctrine of equitable tolling excuses a claimant’s
failure to comply with time limitations when he or she “had neither actual nor constructive notice
of the filing period.” Leoma v. U.S. Dep't osz'ate, 105 F.3d 548, 551 (9th Cir. 1997). Relief
also requires that the claimant act with “all due diligence” to preserve his or her cause of action.
Santa Marz`a v. Paciflc Bell, 202 F.Bd 1170, 1175 (9th Cir. 2000) {rejecting a claim for equitable
tolling in a claim for invidious disability discrimination).

The court affirmed a summary judgment against a U.S. Postal Service employee who
filed suit claiming that she was terminated in retaliation for complaining to her supervisors about
sexual harassment by co-workers. .fohnson v. Henderson, 314 F.3d 409 (9th Cir. 2002). Her
Title VII action was dismissed because she had failed to exhaust administrative remedies within
the agency, and failed to show her late filings within the agency qualified for equitable tolling
A federal employee who believes she has been subjected to sexual harassment must contact an
EEO counselor with a request for counseling within 45 days of the discriminatory event. 29
C-F.R. § 1614.105(a) (2006)- Thereafter she must file a formal complaint with the agency after
she receives a “right to file letter” from the agency 29 C.F.R. § l614.106 (2006); see also
Brown v. Gen. Services Admin., 425 U.S. 820 (1976). in her June 24, 2000 written request for
EEO counseling Ms. Iohnson gave August 8, 1999 as the harassment date (far more than 45
days before her request), although elsewhere she said it happened on October 12, 1999 (also
more than 45 days before her request). The Postal Service responded to her counseling request
with a certified letter mailed to her home, for which it obtained a signed receipt showing delivery
on August 4, 2000. The letter told her she had 15 days in which to file a formal EEO complaint
with the agency. By that time she also had retained a lawyer. Her EEO complaint was not filed
with the Postal Service until September 8, 2000, once again out of time.

Ms. Johnson professed she knew nothing of the 45-day requirement to seek counseling, a
claim the magistrate judge rejected because employees were put on notice of the required
procedures by posters displayed at the work site, and by a “Learner’s Worltbook” given to new
Postal Service employees that contained a chart setting out the time required to perfect each step
in an EEO complaint Id. at 415. The certified mail receipt proved the notice telling her when

 

33 The decision does not discuss why the agency chose to adopt the “good cause” standard as its test, rather
than some other one. But the agency had announced in an earlier adjudication that it would dismiss any appeal
when a party failed to file a timely notice of appeal, appellate brief, or request for an extension (Adminis!raz‘fon v.
Hooper, 6 N.T.S.B. 559 (1988)), and there was no proof that the agency enforced that policy inconsistently G'ilbert,

80 F.3d at 368.

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any formal complaint was due had been delivered to her residence The instruction in the letter
was not crucial, however, for she was represented by a lawyer who should not have needed that
prompting Ia'. at 417. Because she missed multiple deadlines, each of Which Were dispositive,

her claim was dismissed

These Respondents had written instructions on how to request a hearing in the
Determination Notice, and had legal counsel within the organization who eventually responded
on their behalf They failed to act diligently when they waited for eight days to serve their
response to a notice that required action within seven days of the date it had been issued.

H. These Facts Fafl 10 Qua!ifvfor Equitable Tol[ing

Those who apply for temporary foreign agricultural labor certifications move in an
environment of short deadlines for the applicant and the agency. The applicant’s business
practices must accommodate the 5-day response times available to modify a certification
application 'l`he Administrator’s Deterrnination Notice was properly addressed to familiar
agency customers that employ experienced staff counsel, and instructed the Respondents on how
to request a hearing They recently and successfully had requested a hearing on another
debarment matter (the Hawaii debarment proceeding) in a timely fashion Delivering the
Deterinination Notice by certified mail emphasized that it required prompt attention

The arrival of the Deterrnination Notice on the last day to request a hearing was an
extraordinary circumstance justifying a prompt request to extend the time to serve the
Respondents’ request for a de novo hearing No evidence had to be gathered or arguments
developed; it was enough for the Respondents to write a letter identifying themselves, ask for a
hearing, date it, Sign it and mail or even fax it. It easily could have accompanied any motion to
extend their time to request a hearing But the Respondents neither requested an extension nor
acknowledged that they filed their hearing request late. Even if they thought they had seven days
from the date they received the Determination Notice *» something inconsistent with the notice
itself, and 20 C.F.R. § 655 .l 10(a) - their response was untimely

The Respondents have failed to offer any satisfactory explanation for their delay in
responding to the notice. 'l`heir declarations struggle to put the best face on their negligence
After eight days they realized they needed to reply, and sent their response, when it was too late.
AR 1. The facts required to qualify for equitable tolling are absent The Administrator did
nothing to mislead them, no extraordinary circumstance kept them from replying to the
Determination Notice until eight days after they received it, and they had not filed their hearing
request on time in some wrong place. Marshal!, supra, 657 F.Zd at 18; see also Baldwi`n Couniy
Welcome Cir. v. Brown, 446 U.S. 147, 151 (1984} (dismissing the Title VII action a that pro se
party attempted to initiate by filing her “right to sue” letter in district court. She had been
informed several times of the date her complaint had to be filed, but she failed to follow those
instructions The Court held she was not entitled to equitable tolling because she failed to

exercise due diligence).

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I. Proporrionalizy

Disrnissal is a harsh result, but no more so than the results in Baldwin County We]come
Center34 and Johnson v. Henderson,35 where the plaintiffs lost their opportunity to present Title
VII claims; in Universal Cizy Sz‘udias,” where the copyright holders lost their annual share in the
common royalty fund; in Gflbert v. NTSB,” where the pilot lost his opportunity to appeal his
license suspension; in the many cases Where litigants lost ` their right to review by the
Administrative Review Board due to their delay in filing petitions for review; or in Mike Langley
Farnw, Inc.38 Where farmer lost the opportunity to use temporary foreign agricultural workers

ORDER

The request for hearing is dismissed This dismissal makes the Department’s July 27,
2006 Determination and Notice of Prospective Denial of Temporary Alien Agricultural Labor
Certiflcation for Three Years the Secretary of Labor’s iinal order.

A

William Dorsey
Administrative Law Judge

Notice: This Decision and Order constitutes the final order of the Secretary of Labor. 20
C.F-R. § 655.112(b)(2) (2006).

 

34466 Uls. 147, 151(1934).

35 Johnson v. Henderscn, 314 F.$d 409 (9th Cir. 2002).

3" Univerm: Smdras, LLP v. Pe:ers, 402 F.Jd 1233(1).€. cir. 2005).
" Gs;bm v. NTSB, 30 md 364 (9th cir. 1996).

33 Mike Langley Farms, 1"¢., 1999-TAE-001 (ALJ Nov. 13, 1993).

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U.S. Department of Labor once orAdminis:rau\/e Law.mdg@s
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San Francisco, CA 94105

 

(415) 744-6577
(415) 744-65ch (FA)<)
Issue Date: 26 December 2006

Case No,: 2006-TLC-00013

In the Matter” of'

GLOBAL HORIZONS, INC.,
GLOBAL HORIZONS MANPOWER, ]NC., and
MORDECHAI ORIAN, an individualJ

RESPONDENTS.

Appearances:

Vincent C. Costantino, Esquire
Oft'ice of the Solicitor of Labor
For the Administrator, OHice of Foreign Labor Certification

Mindy S. Novik, Esquire
Dean A. Rocco, Esquire
Jackson Lewis LLP

For the Respondents

Bet`ore: WILLIAM DORSEY
Adrninistrative Law Judge

Decision and Order Denying Respondents’ Emergency Application for a Stay

The application the Respondents filed for an emergency stay ofthe Secretary of Labor’s
final debarment order entered on Novernber 30, 2006, is treated as one made under Seetion iO(d)
of the Adrninistrative Procedure Actl (APA], 5 U.S.C.A. § 705 (West 1996). The harm to the
Respondents’ business is counterbalanced by harm to the public interest if a stay is granted, so

the stay is denied

 

' finder the APA, “[w]hen an agency finds that justice so requires, it may postpone the effective date of
action taken by it, pending judicial review." 5 U.S.C.A. § 705 (West 1996).

 

 

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A. Background

This matter arose under the temporary alien agricultural labor portion of the lmrnigration
and Nationality Act, 8 U.S.C.A. §§ llOl(a)(lS)(H)(ii)(a), 1184(c)(l) and l 188(b)(2)(A) WV est
2005), and the Secretary of Labor’s implementing regulations published at 20 C.F.R. Patt 655
(2006). The Respondents’ business provides foreign workers for American farms, after
obtaining certifications from the Secretary ot` Labor that there are not enough workers in the
United States who are able, willing, qualified and available at the time and place needed to
perform that agricultural labor. 8 U.S.C.A. §§i 101 (a)(l$)(H)(ii)(a}, 1184(a) (West 2005); 20
C.F.R. § 655,90(b)(i) (2006). They use the Secretary’s certifications to obtain H-ZA visas from
immigration authorities that allow workers to enter the United States as nonimmigrants to
perform seasonal or temporary agricultural work. The Adrninistrator of the Departrnent of
Labor’s Oftice of Foreign Labor Certitication, Employrnent and Training Adrninistration (the
Adrninistrator), Who reviews l-l-ZA certification applications, has the authority to debar
employers who “substantially violate” the program’s requirements 20 C.F.R. §§ 655.92 &

655.110(3)&(1:>).

On July 27, 2006, the Administrator determined that the Respondents made fraudulent
and willful misrepresentations in an application that had been approved, a substantial violation
under 20 C.F.R. § 655.1 lO(g)(l )(i)(E). He served them with a notice debarring them from
submitting temporary alien agricultural labor certification applications for three years.

The Respondents requested de novo review of their debarment on August ll, 2006. 3
U.S.C.A- § 1188{e); 20 C.F.R. § 655.110(a) (offering applicants for certification the opportunity
to request an expedited administrative review of a determination within seven calendar days of
the date of the Administrator’s notice). A Decision and Order issued on November 30, 2006 (the
Dismissal) found that the Respondents’ hearing request was untimely and failed to qualify for
equitable tolling The Administrator’s Juiy 27, 2006 debarment became the Secretary of Labor’s
' final order. The Administrator thereafter denied four H-2A certification applications from the
Respondents that were pending when the Dismissal Was issued, and any others they file likely

will be denied on the same basis-

On December S, 2006, the Respondents applied for a stay of the Dismissal under Rule 62,
Federal Rules of Civil Procedure (F.R.Civ.P.). Declarations were fried supporting the
application korn the Respondents’ attorney, Dean A. Rocco, with exhibits A-C (Rocco Exs. A-
C) and from the individual Respondent, Mordechai Orian, who is also President of the two
corporate Respondents, with exhibits A~E (On`an Exs. A~E). They specified the harm the
Respondents’ business would suffer unless the debarment were stayed, as well as difficulties the
debarment would cause their customers and H~2A employees

A district court may suspend, modify, or restore an injunction it has issued while an
appeal is pending See Rule 62(0), F.R.Civ.l’.2 That rule does not apply to matters pending

 

2 The Rules of Practice and Procedure for Administrative Hearings Before the Office of Administrative
Law Judges say that in situations not covered by those rules “or any statute," the Rules of Civil Procedure for the
Distn`ct Courts of the United States appiy. 29 C.F.R. §§lS.l and lB.ZQ(a_)(B) (2006). The statutory provision on
stays pending review at 5 U.S.C.A. § 705 obviates resort to Rule 62, F_R.Civ.P.

 

 

 

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before the Secretary of Labor, an executive officer with no inherent equity powers The APA
authorizes agencies to stay their final orders when “justice so requires.” 5 U.S.C.A.§ 705, quoted
in footnote l above. That section of the APA also authorizes a reviewing Article ll.l court to stay
an agency’s final order pending its review3 Rule lS(a), F ederal Rules of Appellate Procedure
(F.R_App.P.) describes how appellate courts exercise that power. C.A. Wright, A.R. Miller, E.H.

Cooper, 16A FED. PRAC &. PROC. Juris.3d § 3964 (2006 Supp.)
B. The Factors the Secretary Consider.s' When Evaluatr'ng a Stay Appficaz'r`on

Irr deciding whether to stay a final order while an Article lIl courts reviews it, the
Secretary of Labor evaluates: 1) the likelihood that the moving party will succeed on the merits
of the request for review;, 2) whether the moving party will be irreparably injured absent a stay;
3) the prospect that others will be harmed if the stay is granted; and 4) where the public interest
lies. Welch v. Cardfnal Banksliares Corp., ARB No. 06-062, ALJ Case No. 2003-SOX-15 (ARB
June 9, 2006) (Order Denying Stay); Cefalu v. Roadway Exprers Inc., ARB Nos. 04-103, 04»
lol, ALJ No. 2003-STA-55, slip op. at 2 (ARB May 12, 2006) (Order Denying Stay); O]j‘ice of
Fed. Contracr Complr'ance Programs v. Um`v. of North Carolr`na, Case No. 84-OFC-20 (Sec’y
April 25, 1989) (Order Denying Stay)`. Other federal agencies consider these factors as they
resolve stay requests See e.g., fn re: Star‘r`on KDEW(AM), Dewil't, Arkansas, 11 F.C.C.R.
13,683, 1996 WL 591011 (FCC Oct. 16, 1996); Briggs v. Nat. Councr`l on Disabz'l'r`ty, 68
M.S.P.R. 296; 299 (MSPB July 25, 1995) (denying the employing agency’s stay request); 111 the
Matrer ofrhe Applr'catz'ons of Timpinaro, er al., 50 S,E.C. Docket 238, 1991 WL 288326 at *2

(SEC Nov. lZ, 1991) (Order Denying Stay).

The factors obviously have been derived from those that the federal district courts apply
when they rule on applications for preliminary injunctions, and on motions for a stay pending
appeal under Rule 62(0), F.R.Civ.P,, and that the courts of appeals apply under Rule lS(a),
F.R.App.P. The courts of appeals relied on them in ruling on requests to stay agency orders in
Store othio ex rel. Celebrezze v. NRC, 812 F.Zd 288 (6th Cir. 1987) (staying an order of the
NRC that granted a nuclear power plant a full power operating license); and in Assocr'atea'
Securities Corp. v. SEC, 283 F.2d 773 (lOth Cir. 1960) (declining to stay SBC orders that
excluded individuals and entities from the securities business because protection of the investing

public outweighed the detriment they suffered).

 

3 After the language quoted in footnote l, Section lO(d) of the APA goes on to say that:

“On such conditions as may be required and to the extent necessary to prevent
irreparable injury, the reviewing court, including the court to which a case may
be taken on appeal from or on application for certiorari or other writ to a
reviewing court, may issue all necessary and appropriate process to postpone the
effective date of an agency action or to preserve status or rights pending
conclusion of the review proceedings.” 5 U.S.C.A. § 705 (West 1996).

During the Decernber ]5, 2006, telephonic conference to set the time for the Departn:ient to respond to the

stay application, the Respondents stated they intended to seek review and apply for a stay in an appropriate federal

court if the Secretary did not stay the Dismissal.

 

 

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l. lrrep_arable Harm to the Respondents

The Respondents insist that to deny a stay pending judicial review amounts to a
“corporate death penalty.” They function as a sort of labor broken linking farm workers with
American farmers They are more than brokers, however, for they become the workers’
employer, and contract their labor out to farmers The Respondents project gross revenue of $11
million from their work during 2006. Orian Declaration at 11 5 . Mr. Orian says that if the
Disrnissal order makes the debarment immediately effective, the Respondents “will not be able
to recruit and hire local or foreign workers . . .” Orian Declaration at 1[ 21.

There is some hyperbole here. The debarment prevents the Respondents from applying
to the Administrator for the certification required to obtain H-ZA visas to admit aliens to the
United States as temporary or seasonal workers The Respondents remain free to recruit
domestic, or what the Orian declaration calls “local" workersl l infer that the majority of the
workers the Respondents employ are aliens who enter the United States on H~ZA visasJ because
Mr. Orian emphasizes in jj 3 of his declaration that the farmers who are his clients “avoid the
costs associated with the . . . H-ZA program,” but the declaration ought to be more specific.
Enough domestic workers might be recruited to maintain the Respondents’ business at some
lower level of gross revenue, but the tenor of Mr. Orian’s declaration leads me to doubt that the

business would be viable in the long term.

The H-QA visa program admits aliens only for periods of less than one year; jobs that last
twelve months or more are presumed to be permanent, so H-2A workers cannot fill them- 8
U.S.C.A. § llOl(a)(lS)(l-I)(ii)(a); 20 C.F.R. §§ 655.100(c)(2), 655.101(g]; Kentucky Tennessee
Growers Association, Inc., 1998-TLC-l, slip op. at 5 &. text accompanying footnote 8 (ALJ Dec.
16, 199?) (explaining that nine montli's employment is a red flag for f\nther inquiry into whether
a job is “temporary,” but it may qualify for the H-2A program). A separate program with more
rigorous standards apply to certifications of` aliens to work in permanent jobs in the United
States. 8 U.S.C.A. §l 182(a)(5)(A) (West 2005) and 20 C.F.R. Part 656 (2006).

The three-year debarment necessarily forces the Respondents to progressiver wind down
the H-ZA aspects of their business in the first year and precludes those operations for the next
two years. The debarment currently prevents them from filling jobs encompassed in the four
certification applications pending before the Administrator on November 30, 2006,4 as well as
jobs encompassed by additional certiiication applications the Respondents intend to file.5
Without the ability to obtain new H-ZA business, in time they eventually will have to lay off 25
corporate employees (22 in its Santa Monica, California headquarters and one each in the states

of Florida, Hawaii and Washington).

 

4 These included 15 jobs harvesting corn and soybeans for Pioneer Hi-Bred International Inc. in Hawaii; 30
jobs harvesting mushrooms for Creeksiden0 Top in Pennsylvania; 8 jobs harvesting flowers and cabbage for
Monden Farrns, LLC in Hawaii and 2 jobs harvesting coffee for Grassrnan Farms in Hawaii. Orian Declaration at

int 11-14.

5 These include 9 jobs harvesting flowers for Kula Farms in l{awaii; 5 jobs harvesting gourds for Good
Harvest in Pennsylvania; 4 jobs harvesting flowers for Howard’s Nnrsery in Hawaii; 8 jobs harvesting com and

soybeans for Pioneer Hi-Bred Intemational, Inc. in Hawaii and 10 jobs harvesting gourds and vegetables for Cedar
Meadow in Pennsylvania. Orian Declaration at '§[ 18.

 

 

 

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Mr. Orian says in his declaration that the Disinissal and debarment will cause the
Respondents to lay off the agricultural laborers they hired,6 but l do not understand why they
should The Adrninistrator neither voided nor interfered with contracts the Respondents
negotiated with farmers and farm workers already admitted to the country on H-2A visas. The
farm workers may continue their agricultural work, and farmers may Continue to pay the
Respondents for that labor. Out of the fanners’ payments the Respondents would continue to
pay the farm workers’ wages and provide their other benefits (including workers’ compensation
insurance, housing and transportation) over the course of the agricultural season they were hired
to work. Present jobs are not at risk, assuming that the Respondents negotiated contracts th at

earn a profit, or at least cover their costs.

The Respondents also assert that they will be forced to break the lease for their
headquarters which expires in lilly of 2009 and costs 512,932.59 per month, because it will no
longer be able to do any business Orian Declaration at jill 8 & 10, They remain liable to pay for
their current l.-l-2A workers’ living quarters in Florida, Utah, Colorado, Pennsylvania, New York
Hawaii and California, and rent for a storage unit in Los Angeles that together cost $27,280.09

per month. Id. at 11 9.

lt is impossible to predict how long the review proceedings will take, but as they go on,
the Respondents’ existing labor contracts cannot be replaced using foreign workers unless a stay
is granted Because l do not know the portion of foreign workers the Respondents currently hire,
or how readily they may substitute domestic workers for them, l do not know how long their
business may be viable The Administ;rator argues that the Respondents should be able to
increase their reliance on domestic workers, because unemployment among farm Workers was
about double the unemployment rate for all occupations in 2003, the last year for which data was
available in the economic report he offered, entitled “Farm Labor Shortages and hnmigration
Policy.”7 Administrator’s Ex. 2, Table 2 at pg. CRS~l l. But the report acknowledges that there
may be “r.`arm labor shortages in certain areas of the country at various times of the year.” Id. at
pg. CRS»S; see also pg. CRS-lo. Those spot shortages appear to be exactly what the H-ZA visa
program was meant to ameliorate 'l`he Adrninistrator also points out that hiring in U.S. farms
and ranches Was down 5% on a year to year basis for the week of October 8-»14, 2006 according
to a Nov. l?, 2006 report of the National Agricultura] Statistics Service of` the U.S. Department
of Agriculture. Administrator’s Ex. 2 at pg. l. This single week’s data says nothing about the
availability of labor in specific areas ofthe country at the times crops must be harvested

W"nile the evidence on this factor is less specific than it ought to be, on balance it weighs
in favor of a stay. See fn Re Hayes M'z`crocompurer Products, Inc., 766 F.Supp. 818, 823 (N-D.
Cal. 1991) (staying injunctive relief in a patent infringement action conditioned on the quarterly
deposit by the defendants of royalties in an insured bank account while the appeal remained
pending); U.S. v. TGR Corp., 1998 WL 846746 (D. Conn.) at *3 (staying civil disabilities under

 

6 Orian Declaration at 1l lO.

7L. Levine, FARM LAeoa SHOaTAcEs AND IMMiGRAnoN POLJCY, Congressional Rese.arch Service (Feb.
22, 2005).

 

 

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Rule 38(g), Federal Rules of Crimina] Procedure,3 after TGR Corp. was convicted of violating
the Clean Water Act9 which otherwise would disqualify it from all government procurement
opportunitiesm during the appeal of the conviction to the Second Circuit).

The Respondents’ hardship must be evaluated in tandem with the likelihood of their
success on the merits As hardship increases, likely success recedes but does not disappear from
the calculus, Washington Metro. Area Transit Comm. v. Holiday Toars, 559 F.2d 841 (D.C. Cir
1977) (upholding the district court’s decision to continue the status quo pending appeal, which
allowed a motor coach sightseeing service to carry on without a certificate of public convenience
while it appealed a permanent injunction against its unregulated operation); Harper v_ Poway
Unt`jied Schoal Dist., 445 F.3d 1166, 1174 (9th Cir. 2006) (recognizing the inverse relationship
of hardship and likelihood of success).

2. The Likelihood That the Respondents Will Succeed on the Merits in the
Review Proceeding

The probability of success is not approached mathematically The Respondents need not
demonstrate that there is a greater than 50% likelihood that the Dismissal will be reversed or
remanded Cuomo v. U.S. Nttcz’ear Regulatory Comm., 772 F.2d 972, 974 (D.C. Cir. 1985). The
movant’s burden, as Iudge Frank characterized it, is to show that questions going to the merits of
the dispute “are so serious, substantial, difficult and doubtful as to make them a fair ground for
litigation and thus for more deliberative investigation.” Hamilron Watch Co. v. Benrus Warch
Co,, 206 F.Zd 738, 740 (2nd Cir. 1953) (upholding a preliminary injunction that forbade a
company that had purchased a competitor’s stock from voting that stock, pending a trial on the

merits of a Clayton Act antitrust claim).

The issues to be presented to an Article III court include whether the procedures set out in
20 C.F.R. § 655.110 and 655.112 are facially vague and lack clarity because their text does not
identify the standard the Secretary will apply in deciding whether to accept a late hearing
request Respondcnts’ Stay Application at 10- Decisions of the U.S. Supreme Court establish
that the Secretary is free to choose any combination of rulemaking and case-by-case adjudication
as she administers the programs Congress entrusted to her. NLRB v. Bell Aerospace Co., 416
U.S. 267, 294 (1974); SEC v. Chenery Corp., 332 U.S. 1_94, 202-203 (1947). Whether the
Secretary has the discretion to determine the consequences of failing to tile a timely hearing
request through an individual adjudication rather than through rulemaking would not present a
reviewing court with a diHicult or doubtful question.

 

5 The process to stay disabilities in criminal cases such as TRG Corp. is a different one, as the Sixth Circuit
pointed out inSta!e of Ohr`o ex rel. Celebrezze, supra, 812 F.Zd at 291.

9 33 u.s.C.A. § 1319(¢)(2) (west 2001).

w These included the Clean Water Act’s prohibition against awarding any federal contracts, loans or
benefits to an entity convicted of violating the Clean Water Act (33 U.S.C. § 1368), and the government-wide

debarment and suspension regulations of the Ot`tice of Federal Procurement Poiicy that the Environmental
Protection Agency had adopted at 40 C.F.R. § 32.4}5(a). TGR Corp, supra, 1998 Wl_. 846746 at "‘3.

 

 

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The Respondents also will argue that the Dismissal is arbitrary and capiieious, and
exceeds the Secretary’s statutory jurisdiction Respondents’ Stay Application at 10. Challenges
to rules themselves have a limited probability of success, given the high degree of deference
Aiticle III courts accord to agency procedures and statutory interpretations when Congress has
left a gap for the agency to fill, and the agency has engaged in notice and comment rulemaking
United Sta£es v. Mead Corp, 533 U.S. 218, 227 (2001); Chevron U.S.A. Inc. v. Natural
Kesources Defense Councfl, Inc. 467 U.S. 837 (1984). The claim that the Disrnissal was an
arbitrary or capricious action triggers review that is “highly deferential, presuming the agency
action to be valid and affirming the agency action if a reasonable basis exists for its decision.”
See Independent Acceptance Co. v. California, 204 F.Bd 1247, 1251 (9th Cir. 2000) {iriterrial
quotations omitted); Centerfor Biological Diver.s'fty v, U.S. Fi'sh & Wi`ldl.§fe Service, 450 F.3d
930, 934 (9th Cir- 2006);!1'\)1'11€ Medical Ctr. v. Thompson, 275 F.3d 823, 830-31 (9th Cir. 2002)
(explaining the deference owed to an agency decision).

There was no dispute about the two core facts-tlie date the Adrniriistrator sent the
debarment notice and the date the Respondents sent the Administrator their request for hearing
To contend that the Disrnissal is premised on facts not in evidence, without identifying the
crucial missing fact(S), provides nothing to weigh or evaluate on this factor.

The law on the standards to qualify for equitable tolling is well established both in the
Secretary’s decisions, and in the Article III courts The application of the admitted facts to that
body of law presents no unusual or difficult issue.

Looking deeper into the Respondents’ Stay Application, the Rocco declaration states that
the review request “Will raise several novel legal issues including inter alia this Court’s analysis
of the facts and legal issues surrounding Respondents’ request for de novo review and the
legality and constitutionality of the debarment process set forth in 20 C.F.R. § §§ 655.110 and
655-112.” Id. at 1 7. The SEC was not persuaded to stay its final order by those barred from the
securities industry while an Article IH court considered their allegations the agency’s rules were
“discriminatory, and-competitive and unconstitutional.” In the Matter of the Appli'cations of
Ti`mpfnaro, et al., supra, 1991 WL 288326 at *6. Without greater specificity, a citation to
controlling legal authority that the Dismissal decision failed to heed, or the identification of a
specific legal issue of first impression that will be presented for review,n as the district court did
in Genera! Teamsters Union Local 439 v. Sunrz`se Sanitation Services Inc., 2006 WL 2091947 at
*3 (E.D. Cal 2006), the Respondents have not framed “scrious, substantial, difficult and

doubtfnl” questions

The Respondents have not shown a probability of success on review. I do not believe, on
the other hand, that the review request they have described would be frivolous, i.e., an appeal so
meritless that its result is foreordained. See Jimenez v. Madison Area Tech. Coll., 321 F.3d
652, 658 (7th Cir. 2003) (applying that definition of “fiivolous” in the context of Rule 38,

 

" The district court identified the issue “whether presenting employees with a Hobson’s choice between
their interest iii securing new representation and preserving their existing CBA is consistent with national labor
policy” as “a matter of first impression in this circuit,” after it had found the chance of success on another issue the

movant raised “entirely speculative.” Sunrise Sam`lati'on Services Inc., supra, 2006 WL 2091947 at *3.

 

 

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F.R.App.P.).

Based on the allegations in the Respondents’ Stay_ Application and the supporting
declaration, this factor does riot weigh in favor cfa stay.

3. Substantial iniurv to others

The Respondents are correct that the Adniinistrator himself suffers no prejudice from
judicial review, or from the task of reviewing additional certification applications the

Respondents may submit

The Respondents allege the farmers and workers will suffer if the debarment remains in
effect, for they are a labor provider “unlike almost any other in the country” because they employ
the foreign workers Orian Declaration at 1l 3. Theii' clients avoid liabilities that result from an
employment relationship and the costs of the H~2A program, which include application fees,
immigration, travel and housing expenses, legal services, worker’s compensation insurance,
payroll, and benefits administration and local state and federal administrative scrutiny. Id. The
Respondents are adamant that their services are needed because their client fanners regularly
require their assistance to obtain labor in the Specific way they structure the transaction

The Orian declaration never says the Respondents achieve any unique or unusual
economics of scale in their contracts Whatever benefit farmers may accrue from the way the
Respondents do business, the fees paid to the Departrnent for the certification, and the H-ZA
workers’ travel, housing, transportation, insurance, payroll or benefits costs don’t disappear; the
price farmers pay the Respondents must cover them all. No evidence shows that farmers would
incur additional costs if they were to be the employer for the H-ZA workers who harvest their

crops

Mr. Steve Groff, a Pennsylvania farmer and one of the Respondents’ clients, did not
“pretend to know why a judge would [debar the Respondents].” Orian Ex. E. Nonetheless, he
believes that if the Respondents “were not able to continue to provide these necessary workers
which we can’t get from anywhere else, it would have extremely devastating consequences not
just for me, my farm and my family, but for the countless growers in the U-S. who continue to face
every day an uphill battle getting their harvests picked while honoring the laws of the land.” Id. l
accept that Mr. Groff may not have another ready source of foreign workers if he cannot use the
Respondents’ services, and may find himself in a difficult situation This is not adequate evidence
to extrapolate, as Mr- Groff does, that “devastating consequences” would follow for “countless
growers in the United States” if the Respondents are barred from submitting temporary alien
agricultural labor certification applications Inferences so broad cannot be drawn from a single

data point

Data from government reports that the Administrator provided in his opposition to the
application for an emergency stay show that during the week of October 8*~l4, 2006 total
employment on American farms and ranches was l,O'/'?,(l{}().E2 The Administrator certified about

 

12 See the Nov. l?, 2006 report of the National Agricultural Statistics Service of the U.S. Departrrient of
Agriculture for the week of October 8-14, 2006. Adnn`nistrator’s Ex. 2 at pg. l.

 

 

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59,000 nonimmigrants as H-ZA Workers in fiscal year 2006, who were employed by 6,551
employers13 Nothing in the Respondents’ declarations indicates that their withdrawal from the
market that provides farmers with H-2A workers would have an appreciable effect on the labor

supply available to American agriculture

The Respondents offer a statement by Mr. Erik Nicholson of the United Farm Workers
Association, AFL-CIO, about why the Respondents’ services are necessary to H-2A workers
Orian Ex. D. Mr. Nicholson explained that if the Respondents lay off the 200 unionized H-2A
workers they employ nationwide, farmers will not be able to complete their harvests. The workers
will lose valuable protections provided in the UFWA’s collective bargaining agreement with the
Respondents that guarantee workers’ wages and seniority rights Ia'. As pointed out earlier,
nothing about the Administrator’s notice or the Dismissal interferes with existing contracts the
Respondents have with farmers or with domestic or foreign agricultural laborers There is no
reason to believe that fewer H-2A workers will be hired in the United States over the next three
years if the Respondents are not their employer. Whether future workers would toll in jobs
covered by a collective bargaining agreement cannot be known today.

The harms to unionized workers and to farmers that Mssrs- Nicholson and Groff describe
are essentially restatements of the harm to the Respondents’ business They represent double
counting if they are separately weighed as part of the “injury to others” factor after they have been
considered in assessing “irreparable harm.”

On the whole, this factor adds little to the analysis The Respondents have failed to show
that more harm would come to third parties if the debarment remains in effect that if it were to be

stayed.

4. The Public lnterest

The stay requested would not maintain the status quo ante The Respondents’ existing
contracts are unaffected by the Disrnissal; they require no stay to be completed The
Respondents seek something more_to obtain other certihcations from the Administrator, that
will lead the immigration authorities issue additional H-ZA visas to foreign workers. Those H-
2A applications require attestations horn Whoever serves as the employer, detailing how that
employer will meet its obligations to provide the minimum benefits the regulations prescribe to
this new population of vulnerable temporary foreign employees 20 C.F.R. § 655.101(b)(l), (2);

655.102(1:)]; 655.103.

The Administrator’s findings in his July 27, 2006 debarment notice became final when
the Respondents failed to seek timer review. The Administrator’ s investigation found that the
Respondents willfully misrepresented in an approved certification application that they had
contracts for 200 jobs with Talt Vegetable Farms when they did not, and falsified the reasons the
H-ZA workers were terminated (for poor performance) when they actually fired them because

 

'3 Drait H-ZA TBMPORARV AGRICULTURAL PROGRAM Srarisricai, YEARBOOK rca FiscAL Yi~:aa 2006,
Employment and 'I`raining Administration, U.S. Dcpt. of Labor {Dec. 2006). Adrninistrator’s Ex. 3 at pg. 3.

 

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the Respondents could not find them Work. No farmers were damaged in that situation precisely
because none had contracted with the Respondents for those workers, but the H“ZA Worlcers

suffered when they were tired.

The Adrninistrator now has reason to doubt the Respondents’ honesty; their certification
applications no longer can be taken at face value.14 lt is not in the public interest to continue to
certify additional applications, while review proceeding are pending, from entities that
investigation has shown are untrustworthy See the SEC’s analysis in In the Matter ofthe
Applicatz'ons ofTimpinaro, et al., supra, 1991 WL 288326 at *6 (discussing the negative effect
on securities markets if stays were granted pending judicial review); Associated Securz`ti'es Corp.

v. SEC, 283 F.Zd 773 (lOth Cir. 1960)_
C. Conclusz'on

The Respondents have made an adequate showing that they stand to suffer irreparable
injury to their business if the debarment becomes immediately effective The Administrator’s
tindings, Which have become established as a consequence of the failure to make a timely
hearing request, show serious misconduct that harmed past H-ZA Workers, that reflects adversely
on the Respondents’ honesty They have not shown that they are likely to prevail on the merits
in their proceeding to review the Secretary’s final order, nor that third parties are likely to suffer
unduly unless the stay is granted The balance of the equities does not tip in the Respondents’

favor.

Order

The Respondents application for an emergency stay of the Secretary of Labor’s final
debarment order entered on Noveinber 30, 2006 is denied

A

Wiiliam Dorsey
Administrative Law lodge

 

“ The hyperbole in the Orian declaration does nothing to dispel this concern.

 

 

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Exhibit C

 

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Agrilabor - employment, farming, farm laborers, california immigration, HZA, l-IQB Page l of 2

  

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htip://www.agrilabor.corn/faqs.php

FAQS

Q: is it true there’s a widespread shortage of housing for migrant farm
workers?

A: Yes. Up until the late 1960'5, there was an ample supply of farm labor camps
and housing in general. Fo|lowiog the rise of term labor activists like Cesar
Chavez one of the strategies employed as a response was to "bulldoze" most
such camps, in order to wipe out the resistance to the movement There' s been a
shortage ever since in almost all parts of the country

n Q: What impact has this had on grower’s making use of the U.S.
: Government H2A Program?

A: it has had a signiticantimpact_ The HZA "Guestworker’ Program is a viable
alternative to the risky use of illegal aliens, and the substandard labor they most '
often provide Since one of the requirements for growers who ordinarily would .
jump at the chance to try the program ls to provide housing (with all the
Department of Labor` and OSHA requirements and cumbersome paperwork that
goes with it) as part of the process for getting certlhcation for use of guest farm
workers many growers who could really benefit from use of the program have .
stayed away from doing so.

Q: Can GLOBAL HORIZONS, tNC. make it easy for me to benefit from use of
HHZA H'?

A: Absolutelyl GLOBAL HORlZONS 's team includes agricultural economists and
other experts who have assisted many businesses and associations in the
successful use of the U;S. “Guest Worlcer’ Program. By administratan all the
paperwork themselves GLOBAL goes through the certification processl finds,
hires and brings into the USA the workers you need to do thelob you require

Q: What about the housing problem? We have virtually no housing
anywhere near our farm? Can you help us solve that problem?

A: Yes. GLOBAL HOR|ZONS, lNC. is a forward thinking Nlanpower organization
and farm labor contractor that is ready to bring you the quality farm labor you
need, and since we are also a State licensed and Federally certified farm tabor
contractor, we are ready to oversee and supervise the laborers who will be
working on your land, from the beginning of the season on through to your
harvest

Q: How can you solve the lack of housing problem for us?

A: GLOBAL is the fifs{_§_r;g'_o_nly manpower organization and farm labor contractor
in the history of U.S. fanning to utilize and bring to the growers land safe, and
economical alternative housing which can erected in a matter of hoursl Such
housing meets all the requirements of 1919 OSHA standards1 as well as the
Universa| Building Code, the Standard Bui|ding Code and the B.O.C.A Code_ it will
meet all DOL requirements and State Building and Safety Requirements.

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Agriiabor - empioymcnt, farming3 farm iaborers, california, immigration, HZA, HZB Pagc 2 of 2

Q: What kind of alternative housing solution will you be providing us?

A: GLOBAL has teamed up with one of the top manufacturers in the world of what
are commonly known as "Geodesic Domes". Such domes are economicai, rapidly
constructed energy erhcient. and low maintenance You've seen such domes in
many modern structures such as Disney’s Epcot, the Astrodome, and possibly
your neighborhood gym or auditorium But GLOBAL is the first in history to bring
the advantages of domes to the farm industry, adopting them for use as portabie
labor camp living accommodations

Q: How will that work?

A: Extremely we|l.' Once we have discovered your requirements and come out to
look at your land, we will determine the specific number of modular units, inciuding
bathroom and shower facilities required based on the number of workers with
which we will be providing you. Together, we will decide precisely where the
domes wiil be put up (they can usually be put up in one day), coordinated of
course, with the availability of water, electricity and waste remova|.

Q: How can i find out more about working with GLOBAL HORIZONS for my
upcoming season?

A: Easyi Sirnp|y give us a call at 310-234-8475, XiOO and we wiil be happy to
answer atl your questions tend out more about what you need and how we can
assist you in having your most prohtable and worry~free season ever.

 

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http://www.agrilabor.com/faq s.php

 

 

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Case: 2:07cv00320

Assigned To : Stewart, Ted

Assign. Date : 5/15/2007

Description: Circle Four et al v. Orian

et al

 

 

 

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Exhibit A
Defendants

Mordeohai Orian A/K/A Motty Orian, Global Horizons, lnc. D/B/A Agrilabor, Pongsatorn
Sanaruk, Phongsak_ Kununtha, Phanuphong Wongworn, Phanorn Mongkhonsawat, Prawet
Phannarit, Somphong Sriyap`, S.omsak Wongkaeo, Wichai Charoen, Mechai Sawong, Prayad
Bunprorn, Sayan Chuaytua, Ekachai Pariwantang, Yotrak Phothip, Thanit Sriboran, Somsak
Phrornkhan, Chaloemchai Phothiworn, Nayong Srinongkhot, Somsak Khaephutcha, Supphasit
Yasaka, Manja Khuntha, Narongchai Khumbungkla, Thaichan Kongtungmon, Phanuwat
Jomthip, Arun Pha.npon, Arwuth Lainok, Chakkapong Laebua, Suwit Mikeao, Anurat Tr_uatnok,
Prasit Sri-On, Watthana Kajik, Praphan Matad, Uthan Khlongdee, Phirom Krinsoongnoen,
Amnuay Phakonchim, Phirawat Nua.nbtmma, Phe'eraphong Saisong, Dechawat Vongtar,
Chaiyakon Prachot, Thongphai Nuanngam, Bunthai Sateewong, Chuangchot Muad-Otton, .
Monghonsak Thanakhun, Samrit Korbpimai,_ Chairat Srinakrung, Radchawee Suwansing, Panid

Tharuppachit, Saharat Prasertsang, Waiyakorn Chianwapi, Pr.ateep Apichateskol, Changchurn
Thanongsak, Ampai Apichateskol, Thaweewan Techo, Thian Pota, Seksan Somm`anat, Phaibun
Manisaeng, Anont Yingthavorn, Saiam Rod_phan Thanapat Piedaeng, Anu` _Khonsinit,
Amornthep Thapjang, Prayoon Hongsamanut, Thanokorn Phiadoeng, Anthom Suphom, Prayut'
Chaipayant Somchai Iamsa-Ard and Phichet_ Phanthasn`

Attorneys

Plaintiffs believe that Alex McBean, Legal Services of Utah, 205 North 400 West, Salt Lake
City, Utah 84`103 represents the following Defendants: Pongsatorn Sanaruk, Phongsak
Kununtha, Phanuphong Wongworn, Phanom Mongkhonsawat,"PraWet Phannarit, Somphong
Sriyap, Somsak Wongkaeo, Wichai Charoen, Mechai Sawong, Prayad Bunprorn, Sayan.
Chuaytua,' Ekachai Pariwantang, Yotrak Phothip, Thanit Sri_boran, Sornsak Phromkhan,
Chaloemchai Phothiworn, Narong Srinongkhot, Somsak Khaephutcha, Supphasit Yasaka, Manja
Khuntha, Narongchai Khumbungkla, Thaichan Kongtungmon, Phanuwat Jomthip, Arun
Phanpon, Arwuth Lai.nok, Chakkapong Laebua, Suwit Mikeao, Anurat Truatnok, _Prasit Sri-On,
Watthana Kajik,r Praphan Matad, Uthan Kh]ongdee, Phirom Krinsoongnoen, Arrmuay
Phakonchim, Phirawat Nuanbumna, Pheeraphong Saisong, Dechawat Vongtar, Chaiyakon
Prachot, Thongphai Nuanngam Bunthai Sareewong, Chuangchot` Muad- Otton Monghonsak
Thanakhun, Sarnn't Korbpimai, Chairat Srinakrung, Radchawee Suwansing, Panid Tharuppachit,
Saharat Prasertsang, and Waiyakom Chianwapi.

Plaintiffs do not know who represents the other Defendants

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